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EXHIBIT A
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Re. Levi Walls’ Public Denunciation

Levi Walls began studying with me in 2016 and ended in July 2020 when he published a public
denunciation on his Facebook page reproduced at the end of this document. The extensive email
correspondence begins at that time, and continues up to attack. I have reduced many hundreds of
emails to this compendium in order to provide a manageable document; every statement is
backed up by a dated email either reproduced here or available upon demand.

As may be verified here, I often wrote Levi long emails containing serious discussions of music;
there was a free exchange of ideas on female composers of lesser-known but with great value,
such as Louise Ferranc, Zara Levina (email from 8/25/2018), Ruth Gibbs (from 9/23/2018), Dora
Pejacevic (6/27/2018), Maria Teresa Prieto (from 12/14/2018), etc., our private analytical work
together on French opera, such works by Bertin and Berlioz. From these exchanges of
information, I never hesitated to send more information on topics of interest to him, always
trying to broaden the scope of his knowledge. One can easily see that Levi respected my work
and me personally as a great teacher over these four years. He asked me politely if I could be his
major professor for his master's thesis (email on July 15, 2017): "...But on that topic! Even
though I've been talking to you about my thesis, I don't want to make assumptions: I'd like to
work on my thesis with you as my major professor. Would that be acceptable for you? If you
have no room, I could also put you as my secondary and you could be my major professor when
I do my dissertation." He wrote his masters thesis under me and he asked me to be his doctoral
dissertation major professor.

Not only did I consistently provide him with informative materials concerning our mutual
interests and my own analytical interpretations of wide range of works, I always complimented
him on his progress and sent positive/constructive comments on his development - look at the
email from Oct. 8, 2017 "These insights are truly profound! Bravo! You have the essence of a
great, penetrating analysis here. So, go forward, and we can meet next Friday....," the email from
Nov. 11, 2017 ..."I read through the proposal carefully and think that it is superb." An email from
me to Levi on April 17, 2019 says "Thank-you for this (sending the link of his thesis). I am
pleased that your writing has made great strides; actually, I am not surprised..." An email from
me to Levi on June 9, 2020: "Bravo on the SMT acceptance! Great news indeed!"

Regarding my availability to meet with Levi, one can see I always did my best to meet his needs.
For example, I was always willing to meet with him for extra lessons. I constantly was in touch
with Levi to help his work during non-regular semesters, such as in May, 2018, and very
intensive work including long emails discussing his work, extended over the summer of 2018,
June 1-July 31!

Our work on various projects continued and there was always mutual respect and collegiality. I
showed Levi every kindness that a professor could show a student. In May-July 2019, I offered
to give him some of my LP collection, and stereo equipment I was not using. An email from Levi
on June 1, 2019: "Again, thanks so much for the records! I already got a new bookcase for them

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                                                                                     JACKSON000001
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and all the operas are now organized. One more bookcase should do it. Oh no, not overwhelmed
at all. I can’t wait to dive into all the recordings/inserts." From Levi on July 3, 2019: "Thank you
for offering more records, I’d be happy to accept. Thus far, one of my favorite recording has
been Franck’s D minor symphony, under Furtwängler’s baton. I read parts of his biography with
interest, especially regarding his opposition to the Nazis..."

I always offered full support for his Teaching Fellowship, travel fund, etc., look at the email on
Mar. 10, 2017 - I always encouraged him, congratulated him on his achievements.

I wrote Levi a strong recommendation for his application for continuing his doctorate at UNT -
see the email from Nov. 13, 2017. I came up with the strongest letter of recommendation (Nov.
30, 2017): "It is with pleasure that I write in the strongest support of Levi Walls’s application for
a place in the doctoral program in Music Theory at the University of North Texas. This is, in fact,
a very easy recommendation to write since Levi is a truly excellent all-round student. He is
currently writing his Masters thesis on the opera “L’Esmeralda” by Louise Bertin (based on a
libretto by Victor Hugo) under my supervision. I can report that he has made tremendous
progress this semester and is on his way to completing a first-class study of the structure of this
opera and its connection with the plot (based on Hugo’s famous novel, The Hunchback of Notre
Dame). There is no doubt that Levi is currently one of our strongest Masters students, and I am
fully confident that he will prosper in the doctoral program going forward. I have heard that he is
an excellent student from all of the other professors with whom he has studied, without any
exception, which does not surprise me in the least given what I know of him and his
work. Levi enjoys my full and unqualified backing as he progresses with his studies."

The correspondence among Dr. Brand, the Division Chair, Levi, and myself, Feb. 19-20, 2020
shows that I strongly recommended Levi, marking his research "extremely important" for him to
receive support from a travel fund for doctoral students so that he could deliver a paper in
Newcastle.

Not only did we discuss work-related matters, but we have been on friendly terms, exchanging
personal news and family regards.

After our emergency meeting on July 26, 2020, regarding the vicious attack on the Journal on
Twitter and other social media, Levi's attitude suddenly completely changed. Please look at the
very last part [Self-Criticism by Levi Walls posted on FB, July 27, 2020: Total Transformation].

1. Levi defames my character by claiming he "feared" retaliation from me if he would have given
up the job as Schenker TA. There is NO evidence in the correspondence for 4 years showing any
kind of abuse of power on my part such that Levi simply had to do whatever I "ordered" him to
do. Both verbal and written communications between us were based on mutual collegiality as
documented here. I was always proud of his work and came forward with my strongest support
on various occasions as described above because I truly believed in his potential capability to
develop into a prominent young scholar.

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2. In his self-criticism, Levi portrays me as a dictator who made all the important decisions by
myself, but that is incorrect, as is documented by letters among 5 active advisory board members
as well as 2 additional theory faculty members at UNT. Please read the email from Levi on Nov.
15-19, 2019. He came forward to me first with his own opinion and ideas about Prof. Ewell's
talk, and he was very critical - especially Levi's email on Nov. 17, 2019 presents a long list of
problems concerning Ewell’s presentation. After our discussions on emails, I came up with the
idea of publishing responses to Ewell's talk in the Journal. When I shared my proposal with Levi,
he thought it was very appropriate to do so (Levi's email to me on Nov. 19, 2019) and took the
initiative to discuss it with other board members voluntarily without me requesting it at all. His
claim that he didn't have any power to do anything on his own is contradicted by the documents!

3. Levi "confesses" in this FB post that he essentially agreed with Ewell and was "dumbfounded"
by my disgusting and harmful rhetoric after reading my response. In fact, Levi was
unconstrained to criticize the conclusion of my article and urge that I made changes (March 12),
and I heeded his and others’ advice: “Hi all, Here is the new version of Dr. Jackson's response.
Instances of "classical" are uncapitalized, page numbers for Slottow and Wiener are put in. And
all the other changes were incorporated as well. Dr. Slottow may have a point about the Kafka
reference. I can see some of our ethnomusicologist colleagues taking it the wrong way. It's up to
you, of course, but it may be better to frame that last point in a more positive way. Perhaps,
instead of placing a value judgement on ethnomusicology, you might consider framing the issue
in terms of there being a good reason that theory, musicology, and ethnomusicology are different
fields, because ethnomusicology, you might consider framing the issue in terms of there being a
good reason that theory, musicology, and ethnomusicology are different fields, because they have
different aims. In other words, the three branches are separate but equal (for lack of a phrase
without such baggage), and equilibrium will only result in a less diverse range of perspectives.
But, again, you could go either way.
Regards,
Levi Walls”

If Levi felt negatively at the beginning of March, why did he keep writing to me both personal
and professional emails asking for me to become his dissertation advisor? He certainly didn’t
have to choose me as his dissertation advisor and it frequently happens that the students change
their major professors for the dissertation, not to mention that I have no possibility to harm those
students who wish to avoid me. Even on his email from July 25, 2020, he clearly goes against
Ewell's and his followers' accusation toward the JSS for being unethical and unprofessional
because Ewell was not invited to participate in the same issue, since he wrote: "...I'm also
confused about what exactly people want. The responses were to Ewell's paper. Did Ewell want
to respond to his own paper? If he wants to respond to the responses to his paper, then that is
perfectly reasonable, and I don't think anyone would have a problem with that. We could publish
something in the upcoming volume, if that is what people want. But he couldn't have responded
to responses that hadn't yet come out...!" If he went through so much inner suffering between
March and July as he confessed in his FB post, how can he have acted this way?

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4. On Dec. 2, 2019, in an email, Levi and Ben Graf both agreed to go forward with publishing
responses in the JSS vol. 12, not delaying further. This is documented by Ben's email on Dec. 2
(“We should go forward with the call and be open to publishing more on
this matter in future publications.”)

5. Levi is a doctoral student who worries about developing his career and just had a baby. I
understand his burdens and pressures fully; however, his public defamation of his professor is
not the path that a scholar with integrity and personal honor would take. I am profoundly
saddened by his false accusations widely publicized on Facebook – accusations by a student of
whom I thought very highly. I cannot accept this public defamation of my character as a scholar
and a human being, and that is why I feel compelled to share the documentary record, which
paints a totally different picture of our student-teacher relationship as it actually existed.

Therefore, documentation of my collegial teacher-student relationship with Levi Walls extending
back into 2016 is presented below.

Until Levi Walls’ public Facebook denunciation of me I never heard him express any concerns
whatsoever about his work with me as his mentor.

In his plenary lecture, Ewell included Allen Forte of Yale alongside Ernst Oster as one who had
"whitewashed" Schenker in his slide. According to Ewell, Forte and Oster had colluded to
conceal Schenker's "virulent racism." Now, Forte had been Ewell's dissertation advisor at Yale. I
know from Madeleine Forte, Allen's widow, that Allen had shown Ewell every kindness and
consideration. Even if Ewell's accusation had been true rather than being false, I think that he
should never have made it public. I say this because I believe that there is - and should be - a
sacred bond between teacher and student that is not dissimilar to that between father and son or
father and daughter. This is why the Germans refer to a doctoral dissertation advisor as
"Doktorvater" or doctoral "father." When I look at the behavior of some of my former students, I
have to wonder about their personal code of honor, integrity, and honesty. Does self-preservation
justify lying and misrepresentation? Does a student have the right to publicly shame his former
teacher, especially one who showed him every kindness, and who went well beyond the call of
duty to give him every possible material help and educational advice?
This question of personal integrity continues to haunt me.


The Idea for the Symposium Evolved from Discussions with Walls, Other Graduate
Students and Schenkerians around the World

Levi asked to discuss Ewell’s Plenary Speech with me. The idea that I forced any of my ideas on
him – or any other student - is totally false. One can see from this correspondence that he had a
clear picture of shared concerns about Ewell’s presentation from the very beginning. At no time
did I censor Levi’s views, nor did I doubt that he was sincere in holding his own views.

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Meeting
Inbox    x




Walls, Levi <LeviWalls@my.unt.edu>
                            Fri, Nov 15, 2019, 10:18 AM

to me


Dear Dr. Jackson,

      Hope you are well! When would you like to get together to talk about Bach?
Unfortunately, I haven't had any Gme to devote to Berlioz lately, as I've been swamped with
classes and private teaching. But I would be happy to discuss the Passion in more detail. Of
course, you've dedicated considerably more Gme to it than I have but I can surely follow you
and share any thoughts/quesGons! At the moment, I can’t leave Denton Thursday-Sunday
because my wife takes the car to work all day. But I can travel monday- wednesday, or meet
on campus any day.

     Regards,

                  Levi


Walls, Levi <LeviWalls@my.unt.edu>
                            Fri, Nov 15, 2019, 10:40 AM

to me


I would also be very interested in discussing a parGcular Schenker paper from SMT. You've
likely heard about it, as it caused quite a sGr. I was very ambivalent about it because it
suggested that analysis that uGlizes levels of hierarchy is inherently racist, which strikes me
as naive. Reinhold Brinkmann made a very similar claim about Lorenz, saying that his desire
to have every part of a piece serve some structural whole was totalitarian
(and obviously linking that idea to his poliGcal beliefs).

        - Levi Walls

From: Walls, Levi
Sent: Friday, November 15, 2019 8:18 AM
To: Timothy Jackson <shermanzelechin@gmail.com>
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Ewell
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                                Mon, Nov 18,
                                                                          2019, 8:08 AM

to Levi



Dear Levi,

This is not a reply to your points, which I need to consider, but my own rumination:

Is Ewell making the absurd claim that Schenkerian voice leading analysis is inherently
racist, and is his attitude to Schenker and Schenkerians anti-Semitic explicitly or
implicitly? (I am reminded of fake news and the world-is-flat people!) Is Ewell a poseur?

I have been thinking that all demagogues have this in common: they use
widespread legitimate grievances - here generalized racism in the US and the
challenges it poses to academics of color - to lash out against perceived targets of
opportunity. That is what Hitler did with the Jews, and what Trump does today with non-
White immigrants and others: in this case, does Ewell seize upon Schenker and
Schenkerians - mostly Jews, and mostly immigrants fleeing the Nazis - and blame them
for the paucity of Blacks in the field of music theory? I have been thinking that Allen
Forte, who gave Ewell - and, for that matter female and Jewish students, a chance -
would be turning in his grave if he knew what Ewell is now saying, if that is indeed the
case.

On another somewhat more genial topic, I send the score examples for a talk that I
gave back in 2000 about Bach's Saint John Passion, and more specifically, about the
role of the recapitulation in the aria No. 35, the soprano aria, "Zerfliesse, mein Herz."
Usually, Bach employs the da capo aria form, with its clearly defined A and B sections,
whereby the A section is repeated after the B. But here in this special aria -
exceptionally - Bach limits himself to to just A and B sections. That being said, still, even
without the literal repetition of the entire A section, he finds a way to preserve the da
capo form. I believe that, quite remarkably, he achieves this by working repetitions of
parts of the A section in the B section! In my annotated score, I indicate precisely those
places in the latter part of the aria where elements of the A section reappear. Of course,
from a tonal-structural perspective, these musical elements are now revalued, and their
transformation represents the changes brought about in the worshipper's soul by
experiencing Christ's sacrifice first-hand, i.e., by reliving the Passion with Christ. That is
the underlying motivation for Bach's unusual treatment of the da capo form in this aria.

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Best wishes, Tim
Attachments area


Tim                                                                  Mon, Nov 18, 2019,
oth                                                                            8:12 AM
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Jac
kso
n
Dear Students, If we can find the time to discuss it, I send the score examples for a
talk that I gave back in 2000 about Bach's Saint John Passion, and more sp



Walls, Levi <LeviWalls@my.unt.edu>                                       Mon, Nov 18,
                                                                        2019, 9:41 AM

to me



Dear Dr. Jackson,

        Thank you, we’re very excited about the baby. The due date is March 17, so still a
little ways to go.

       Yes, the paper’s willful ignorance of Schenker’s Jewish identity is indeed troubling.
That seems to mark it as implicitly antisemitic, at the very least. I think that, had he
limited his criticisms to Schenker the man, it would have been slightly less problematic.
But his claim that the entire theoretical world view—and by extension those who helped
spread it—is racist becomes very problematic when we consider the intimate
connection between schenkerian analysis and the Jewish identity. I think that it is
possible to address biases in Schenker studies (and academia in general) and advocate
for increased transparency without demonizing an entire methodology (especially one
with strong Jewish roots). Ewell’s talk certainly failed in that regard.

Regards,

           Levi




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Response to Ewell
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                              Tue, Nov 19,
                                                                        2019, 1:33 PM

to Levi



Dear Levi,

It occurred to me that it might be appropriate for the Journal to solicit responses to Ewell
from a number prominent Schenkerians - if they would be willing to reply - and publish a
small collection. What do you think of this idea?

In my view, some of Ewell's comments about Schenker are an example of intellectual
dishonesty. I believe that this contention should be - politely - proven, and a "Response"
to be justified and appropriate.

The racist passages from Schenker's letters and diary Ewell cited from "Schenker
documents on line" were unknown to those scholars he critiques for sanitizing
Schenker's published writings. To the point, these comments from SDO were not known
by Forte, Rothstein, Rothgeb, and others because they were inaccessible, buried in the
letters and diary. So, Ewell's critique of these scholars is unfair. But Ewell goes further
and pretends that racist comments were excised by them from Schenker's publications,
while the passages moved into appendices were not racist in content like these items
cited from SDO. It is a cheap shot.

In fact, Schenker's strongest vituperation was never toward Blacks, but the French, who
are and were, especially at that time, mostly White!, and primarily during and after WW
I. There are sustained passages in Schenker's diary against the "White" French that
prefigure Nazi anti-Semitic propaganda in their virulence.

Schenker's Eurocentrism - perhaps better, German-centrism - was by no means
exceptional; it was also common at that time in European culture. It was based on many
factors, Kant and German philosophy being one of them.

I read most of Schenker's 5600-page diary in the original before it was on SDO, and the
comments Ewell cites about Blacks in particular are extremely rare and marginal at
best. That does not excuse them; however, these views were so universal in the early
20th century, and by no means exceptional, that I would have been surprised if
Schenker did not think in that way. What WAS noteworthy in Schenker was his extreme

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"Volkisch" German Nationalism, and especially his sustained demonization of the
French. So, if Schenker was the virulent anti-people-of-color that Ewell makes him out
to be, why then did he pick so much on the (White) French, reserving for them his most
hateful spleen? His comment about Black French soldiers is taken out context; it is part-
and-parcel of his tirade against everything French, and mostly White French.

Part - but not all - of the "dark" side of Schenker's personality was well known to his
students and colleagues. Again, the diary and letters on SDO were still sleeping in the
archives. However, I think that Schachter told me, for example, that Jonas studied for
one year with Schenker when he was 19, but then left him for Weisse because he just
could not stand Schenker's extremism.

A topic that comes up in different contexts in Schenker's diary is racism in the context of
his and his wife's Jewishness - something that Ewell ignores - and the problem of anti-
Semitism. As a Jew himself and as the target of racism, Schenker was keenly aware of
both anti-Semitism and racism, and he became increasingly so as the Nazis assumed
power in neighboring Germany; yet as the outside commentators on Ewell pointed out,
he failed to mention even once Schenker's Jewishness, and that of most of his students,
and what this meant, and this lacuna is self-serving. As Schachter pointed out years ago
in a talk about Schenker that he gave in Tallinn, Schenker was not a fan of Hitler. This
fact reveals that Schenker's views changed and evolved over time, and, especially in
response to the rise of Nazism and anti-Semitism in Germany - and also Austria - in the
late 1920s and early 1930s Schenker began to sober up.

Ewell's thesis that the practice of Schenkerian analysis cannot be divorced from
Schenker's political theory means that the approach must be inherently anti-French,
although Ewell fails to point this out, and none of the Schenkerians seem to have
noticed it. Or, perhaps, following upon Ewell's conspiracy theory, they do know but are
hiding it. Does this undercut our work on Berlioz, Mehul, and other French composers?

At some point I will send more the annotated score of the Saint John Passion.

With best wishes, Tim



Walls, Levi <LeviWalls@my.unt.edu>                                      Tue, Nov 19,
                                                                       2019, 3:16 PM

to me



Dear Dr. Jackson,

     I agree that a response in the JSS would be very appropriate. It would be nice to
have it for the upcoming issue, although it is very forthcoming (around mid-December).

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A response in issue 13 would of course be quite late. Did you have any particular
schenkerians in mind? Dr. Graf and I can discuss some candidates tomorrow at our
weekly meeting and get requests out as early as tomorrow evening. Perhaps we should
also set a page limit for each respondent, though we have room in the upcoming issue,
so I don’t think there’s any need to be particularly restrictive.

      Regards,

                 Levi Walls




Documentation (2016-2020)

Levi was interested in French music, so that I worked on the composer Alkan with him outside of
any formal class setting to help him improve his analytical skills.




levi walls <chopinlevi@yahoo.com>                                          Thu, Dec 22,
                                                                         2016, 10:56 AM

to me



Dr. Jackson,

      I wanted to check in just to share what I'm working on this break. As I mentioned in
your office, I'm studying the philosophies of Hegel. I also have some books I checked
out about Schopenhauer and Kant that I'm studying. Other than analyzing the
Schumann quartet in A minor (I'm also performing a four-hand transcription of it with a
friend when I visit California in January) I'm trying to become more familiar with religious
and mythological texts. I'm an atheist, but I'm interested from an academic standpoint
and because it's obviously an important part of music history. I've found it difficult in the
past to find scholarly unbiased interpretations of religious history but I've been watching
a series of Yale lectures on YouTube that are very good. Right now, I'm in the middle of
a videotaped course on the New Testament. That's usually what I study when my eyes
get tired from reading, which happens quickly right now because I have the flu. I can tell
it's almost better though. If you have any materials you'd like to suggest in the religion
and mythology department I'll take a look. Otherwise, I'll continue my own course of

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study. Thanks!

           , Levi Walls

Sent from my iPhone



Timothy Jackson <shermanzelechin@gmail.com>                            Fri, Dec 23,
                                                                    2016, 11:24 PM

to levi



Dear Levi,

It is good to hear from you, and about your readings in philosophy and history.

Perhaps you might find interesting some work that I have been doing on the way - I
believe - Chopin and Alkan recomposed a compositional idea that they may have taken
from another pianist-composer by the name of Masarnau. I will forward you some of the
material and you can see what you think.

With best wishes, Tim

Re: Audition
Inbo   x




x


levi walls <chopinlevi@yahoo.com>                                     Sun, Mar 19,
                                                                    2017, 12:10 PM

to me



Hi Dr. Jackson,

     Can I schedule an office appointment with you this Friday at 11am to talk about
Alkan? Thanks!

                      , Levi Walls
--------------------------------------------
On Fri, 3/10/17, Timothy Jackson <shermanzelechin@gmail.com> wrote:

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Subject: Re: Audition
To: "levi walls" <chopinlevi@yahoo.com>
Date: Friday, March 10, 2017, 3:03 PM

Bravo on the Fellowship! That is important.
Yes, do work on the Alkan and then we can compare readings and discuss!

Bravo again. I am happy about that.
Tim

On Fri, Mar 10, 2017 at
 11:54 AM, levi walls <chopinlevi@yahoo.com>
 wrote:
 Sorry, I didn't give you much notice for that. I think I'll use my noon hour to eat before
class though. Over the break, I'll try to cobble my Alkan stuff into a coherent analysis
that actually says something meaningful about the piece, rather than just analysis for
analysis sake. I also wanted to mention that I got a theory fellowship, so that's exciting!

Sent from my iPhone


On Mar 10, 2017, at 9:56 AM, levi walls <chopinlevi@yahoo.com>
wrote:

Dr. Jackson,

      No worries, I know you're busy. I can drop by at 11:15, if that works. Noon is also
okay. Let me know if either of those times work.

        , Levi Walls

Sent from my iPhone

On Mar 9, 2017, at 5:08 PM, Timothy Jackson
<shermanzelechin@gmail.com>
wrote:

 Dear Levi,
 I am sorry that I have not gotten back to you about your analysis of the B section of the
 Alkan. Perhaps it would be good to meet and discuss it in person. I am in MWF and
teach from 10-11. We could meet before or after my class.

Your comment about "bells" is apt indeed. It also brings to mind Rachmaninov, who was
fascinated by bells, and who incorporated references to them into multiple works, and
not just "The Bells." The question I would ask is, how does the “bell" interpretation relate

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the middle section to the surrounding music, not just syntactically but semantically: why
does Alkan want to reference bells?

 I have a slightly different interpretation, namely that the ostinato is a reference to a
 clock (rather than to bells per se), and thus to "the measuring of the passing of time."
However it might be both to a clock and bells - rather than "either or" "both and" - since
clock towers often mark the passing of time by ringing their bells on the hour, half-hour,
and quarter-hour. Again, the question would be, if "the passing of time" is the central
metaphor in the middle section, then how would this semantic interact with and relate to
the surrounding music? Perhaps a clue to "the time passing" interpretation linking the
middle section with the A and A' parts might be the whole problem of the opening, where
we begin "in mediares," as already discussed. If this is an accurate interpretation, then
we would have to assume a pre-existing time-space in which music starts and is playing
before it becomes audible. According to this reasoning, the middle section and the
transition from the middle section to the reprise of the opening might give us some clues
as to the prehistory of the piece. This issue, then, might be the semantic link between
the outer parts and the middle section.....
 Best,
 Tim

On Sun,
Mar 5, 2017 at 7:29 PM, levi walls <chopinlevi@yahoo.com>
wrote:
Dr.
Jackson,



          I've been working on the Trio section. This is my graph for the first 80 measures
or so (when it returns to Ab). I numbered the measures starting at the Trio rather than
original measure numbers. It's especially clear from this section that Alkan was also an
organ player; both the alternating Eb and Bb throughout, and the bass octaves at mm.
8, 40, and 78, are meant to function as pedals. In the case of the ever present Eb to Bb,
it contributes to the bell-like sonority of the passage. French composers of the late
nineteenth- and early twentieth-centuries were interested in bells, which had a social
significance in French rural life (I recently checked out a book titled "Village Bells:Sound
and Meaning in the 19th-century French Countryside" by Alain Corbin but haven't had
time to read it yet). The bass octaves have more of a structural importance and, in each
case, correspond to the prolonged harmony shown in my graphs. My graphs don't
account for every pitch and may skip steps in their simplification of the material, but I
believe the end result is accurate: measures 9-40 and 77-94 both prolong tonic
harmony and utilize a 4+4+8 sentence structure (77-78 is a lead-in). Measures 41-76,
meanwhile, prolong dominant harmony.

  , Levi Walls


                                                                                          13

                                                                               JACKSON000013
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Levi applied for a Teaching Fellowship, and I supported him.


 On Feb 21,

 2017, at 12:47 PM, Timothy Jackson <shermanzelechin@gmail.com>

 wrote:


 Well, let's really hope

 for the best as far as the TF position is concerned. You will improve, and hopefully, if
you must reapply next year, then you will be better prepared. I think that it would be
good to continue the kind of analysis that you were doing on the Alkan. The more in-
depth analysis you do, the greater the facility that you have with analyzing harmony –
and potentially explaining it as well.

 When you have time, you should continue the Alkan, and I will be happy to discuss it
further with you.

 Tim

 On Tue, Feb 21, 2017 at

 9:28 AM, levi walls <chopinlevi@yahoo.com> wrote:

 Haha. Not sure. I controlled my nerves pretty well. But then I inexplicably forgot what
key I was in. It was an odd mistake, and normally I don't have trouble with something so
simple.
  But mistakes, regardless of circumstances, show that I'm not comfortable talking
through an analysis in real time. I need to get faster and have it be natural. I got a
collection of Bach chorales since the interview and I just practice playing through them
and saying the analysis out loud, limiting the time I have to identify each chord to a few
seconds. One more thing to improve on.

Sent from my

 iPhone

 On Feb 20, 2017, at 10:27 PM, Timothy Jackson

 <shermanzelechin@gmail.com>

 wrote:


                                                                                            14

                                                                               JACKSON000014
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 Dear Levi,

 Thanks for the report. What was the issue with the analysis, if I may ask?

 Best, Tim

 On Mon, Feb 20, 2017 at

 8:46 AM, levi walls <chopinlevi@yahoo.com>

 wrote:

 Hey Dr.

 Jackson,


          I have to wait two weeks before I hear about my audition. It went alright. I had no
trouble with aural skills and sight singing went alright. I read the Bach chorale without
difficulties, but I confused myself while talking about the analysis (which should have
been the easy part of the audition) and had to recover from that. It was alright overall. I
might get an assistantship. We’ll see. I'll let you know though, since you asked!

Thanks!
              , Levi Walls




Giving Levi extra help with analyzing pieces outside of class:


levi walls <chopinlevi@yahoo.com>                                         Fri, Mar 24,
                                                                       2017, 12:42 PM

to me



Hey Dr. Jackson,

     We had a meeting at noon, but something must have come up. No worries,
though. I appreciate all your help! I dropped some graphs under your door, some new,
some redone. I'm still pretty slow at it, but I'm doing a lot of analysis this summer as I
explore thesis topics and I'm taking the schenker class next semester, so I'll get plenty
of graphing practice soon.
                                                                                             15

                                                                                JACKSON000015
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Best,       Levi Walls




Levi expressed interest in female composers of Classical music, so that I suggested some
worthy of study:


Timothy Jackson <shermanzelechin@gmail.com>                             Sun, May 14,
                                                                      2017, 11:08 PM

to Levi



PPS. If you are interested in a great work by a female composer of the 19th century, try
out the last movement of Louise Farrenc's Third Symphony in G minor. I think that
Farrenc, when she is inspired, as in this Finale, could be greatest female composer of
the 19th century. Personally, I have the impression that Fanny Mendelssohn and Clara
Schumann are somewhat mediocre composers, with Fanny a good notch above Clara.
But Farrenc, by contrast, does have the spark of real "genius" for lack of a better word. I
would be interested if you agree.



Walls, Levi <LeviWalls@my.unt.edu>                                       Mon, May 15,
                                                                        2017, 5:12 PM

to me



Thank you, this all looks very promising! I'll be in touch soon on my studies!

Sent from my iPhone




Levi shared his idea for his masters thesis, which he wrote under my direction:


Thesis idea
Inbo    x




x
                                                                                            16

                                                                                  JACKSON000016
Case 4:21-cv-00033-ALM Document 1-2 Filed 01/14/21 Page 18 of 71 PageID #: 70




levi walls <chopinlevi@yahoo.com>                                            Thu, Jun 8,
                                                                          2017, 2:12 PM

to me



Dear Dr. Jackson,

         I would appreciate your opinion on a research topic I've been thinking about. It
concerns an opera (La Esmeralda) by Louise Bertin (https://en.wikipedia.org/wiki/
Louise_Bertin) that is based on Hugo's Notre-Dame de Paris. The libretto was written by
Hugo himself, who Bertin was friends with. She was also friends with Berlioz, who
assisted in staging the opera. The work (as well as Bertin's opera career) was ill-fated,
however. Accusations were made concerning the extent of Berlioz's assistance and it
became public opinion that the better parts of the opera were actually written by him.
This resulted in the opera's run being cut short. It is clear from letters from Berlioz to his
sister that the accusations had no truth to them (assuming he had no reason to lie in a
personal correspondence to this sister), however I'd like to approach the issue
theoretically. The paper would analyze parts of La Esmeralda and compare it to
Berlioz's operatic works, and defend the authorship of Bertin's work by showing the
differences in style (text-setting, orchestration, formal/harmonic structure, etc.). It would
spotlight the work of a lesser-known composer, while also looking at the output of a
well-known composer through a different lens. Practical reasons for this project include
its originality, the fact that authorship-defense papers are interesting and exhibit both
persuasive and analytical skill, the score and recording are both easily accessible (I
have both), and I can read French at an adequate level, so I'd have access to those
resources as well without too much trouble. In preparation, I would read as many
articles/books about Berlioz as possible in order to become very familiar with his style of
composition.

        I read The Sexuality of Christ in Renaissance Art and Modern Oblivion. It was
super interesting. I need to think more actively about visual art. I tend to just take it in
passively, so the issues addressed in the book were things I'd never even thought
about. I also bought a copy of Lives of the Artists, but I haven't gotten to it yet.

    Hope you're enjoying your break!
                                            , Levi Walls



Timothy Jackson <shermanzelechin@gmail.com>                                  Thu, Jun 8,
                                                                          2017, 8:26 PM




                                                                                               17

                                                                                  JACKSON000017
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to levi



Dear Levi,

I think that you have here a potentially great topic! But let me qualify and define my
enthusiasm as follows.

The whole story of Bertin's opera failing because it was believed that Berlioz had written
parts of it strikes me as bizarre, and could even be historically incorrect. Re. authorship,
like you, I am inclined to take Berlioz at his word!

If Bertin's opera failed, I suspect that the cause or causes had little to do with the
improbable myth of Berlioz's authorship or contribution, but with other factors,
which might include certain perceived weaknesses in the opera itself, and prejudice
against a female composer. But with regard to prejudice against female composers in
19th-century France, it is noteworthy that Louise Farrenc (whose music I admire greatly)
enjoyed considerable, real critical success in France, even though she was a woman.
This fact suggests that prejudice against female composers, while it certainly existed,
was insufficient in itself to guarantee failure for Bertin's opera, and it is most probably
other factors intrinsic to the opera itself that were the cause. But this whole issue of the
reasons for its failure seems something of a red herring anyway, since even if the work
did not achieve popularity in its own time that does not mean that it is necessarily bad or
weak but rather that it did not correspond to contemporary taste in a way to achieve
success. Remember that the first version of Puccini's Madame Butterfly "failed" in its
first performances, and then, with modifications by the composer, went on to become
the most performed opera ever! This kind of delayed recognition and popularity can be
observed in the reception history of not a few operas! So, what really matters is that La
Esmeralda is of lasting value and importance - and the fact that it has enjoyed a revival
in 2008 suggests that it IS an important work with its own internal integrity. The
collaboration of Bertin with such figures as V. Hugo and Berlioz suggests that they
believed this opera project to be important!!!!

In my experience, Berlioz's music is very idiosyncratic, and he also has different styles
in different pieces, and even parts of them. I think that it would be a really very difficult
and huge task to pin down all of Berlioz's stylistic languages, and then "prove" by
means of such analysis that he could NOT have contributed to Bertin's opera.
Furthermore, is such an effort really necessary, especially when we have his assurance
to his sister that he did not write it? As you quite rightly point out, why would he lie to
her?

Rather, what I think would be much more interesting, achievable, and (in my view) very
valuable would be for you to focus on an in-depth analysis of Bertin's La Esmeralda as it
stands, both the music and the libretto. That I think would be a truly marvelous project!


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                                                                                 JACKSON000018
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Of course, you could contextualize La Esmeralda by comparing it to other French
operas of its time and slightly before to see how it conforms or deviates from potential
models. But I still think that keeping the focus on the opera itself, analyzing its music,
plot, and libretto in depth, would provide more than enough great material for a thesis!

I notice that a manuscript score of Act III is available on line. Is there a modern edition of
the entire opera, both vocal and full scores? And is there just the CD of the 2008
performance, or also a video? Have you studied the music and begun to analyze it? I
have just started listening to the opera to get a sense of it and it is not simple: to do the
analysis well and do justice to the music will be sufficiently challenging for a thesis!

By the way, did I send you the finale of Farrenc's Third Symphony? I think that the
conclusion of this symphony is truly remarkable.

Best wishes, Tim



levi walls <chopinlevi@yahoo.com>                                            Fri, Jun 9,
                                                                         2017, 2:59 PM

to me



Dr. Jackson,

      Yeah, I was a bit worried about that possibility; if it was going to do well, it
probably wouldn't have been hindered so easily. But I agree that its support from figures
like Hugo and Berlioz, as well as its recent revival, is a testament to its probable value.

         I have a 2009 edition of the vocal score from 1837. It was apparently put together
by Liszt, so add another figure who cared about the project. That being said, I believe
the Bertin family had quite a bit of money, so I'll have to look into exactly how invested
these figures were on the merits of the project alone. Anyway, I don't believe a full score
was ever published. I think I found the same manuscript of the third act as you
on gallica.bnf.fr. On the same site, I've found all the acts with choices to download or
buy reproductions. I successfully downloaded the second act, but the others keep
failing. I think it's just my internet though. The others will probably work if I keep trying.

        I've just barely begun to analyze. But I like this for my thesis and can see there's
plenty there to write about. I'll spend more time on it. I agree with you now on the focus
being more general and not splitting the focus between Bertin and Berlioz
unnecessarily. After all, the alleged controversy was already denied by Berlioz himself. I
can still compare them, but more within the context of French opera of the time. Maybe I
can even find a significant reason that it fell short with contemporary audiences. But


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                                                                                 JACKSON000019
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maybe not. At any rate, this work should serve as a good test of my analytical skills.
Must get cracking on it immediately!

        Yes, you sent me Farrenc. I'd heard her before from unsungmasterworks. The
low strings at the last bit before the coda of the last movement remind me of Paganini. A
superficial observation, but there it is.

          Thanks for your valuable input! I gotta hit this one out of the park!

              , Levi Walls

Sent from my iPhone



Timothy Jackson <shermanzelechin@gmail.com>                                   Fri, Jun 9,
                                                                          2017, 5:29 PM

to levi



Dear Levi,

Just listening to the music on Youtube without the score, I can hear that Bertin's musical
language is definitely allied to that of Liszt and Berlioz (and the so-called New German
School, although she is French), but perhaps even closer to Liszt than Berlioz, which is
why Liszt would have considered the opera important enough for him to prepare the
vocal score. Farrenc's musical language, by contrast, in my view, falls more into the so-
called "Classical" tradition. So these two streams co-existed side-by-side in France.

I have studied Liszt's oratorio Saint Elisabeth, and Bertin's La Esmeralda reminds me of
certain techniques employed by Liszt. Analyzing this music will definitely pose
challenges.

Could you please send me the score of the second act....? And also the links to the
other acts, and I can see if I can get them.

Bertin herself could not really be part of the initial production because she was an
invalid; the fact that she could not participate may have contributed very significantly to
the opera's contemporary failure since composers were usually intimately involved with
every detail of the premieres of their operas, and played a crucial role in achieving
success.

All of this suggests that Bertin was a person with enormous strength of character to
achieve as much as she did given the challenges she faced! My guess is that the
subject of the opera appealed to her for personal reasons.....

                                                                                            20

                                                                                  JACKSON000020
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I find the music that I have heard most interesting and compelling. Indeed, the
enthusiastic reception accorded it by the modern audience suggests that the opera is
much, much better than its reception history would lead one to believe!

With best wishes, Tim


            ReplyForward



Louise Bertin and opera in Paris in the 1820s and 1830s
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                               Mon, Jun 12,
                                                                         2017, 7:31 AM

to levi



Dear Levi,

You MUST read this dissertation on Proquest Dissertations on Line:


Louise Bertin and opera in Paris in the 1820s and
1830s
BONEAU, DENISE LYNN. The University of Chicago, ProQuest Dissertations Publishing, 1989.
T-31006.

http://libproxy.library.unt.edu:2065/pqdtglobal/docview/
252273506/57DBFAD855804DB4PQ/1?accountid=7113

There is a huge amount of historical information relevant to your topic.

Best, Tim

In order to help Levi develop his thesis topic, I sent him some of my own unpublished work
on Debussy’s opera Pelleas:

On Sat, Jun 10, 2017 at 9:39 PM, Timothy
Jackson <shermanzelechin@gmail.com> wrote:

                                                                                           21

                                                                                JACKSON000021
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Dear Levi,

Analyzing opera poses some special challenges, although the basics remain the same.
I just sent you some of my analytical work on Pelleas to give you an idea as to how you
might go about it. You need to map out the large-scale tonal structure for La Esmeralda.

It would be helpful to have clearer scans of the vocal score for La Esmeralda, so I look
forward to receiving them!

I have analyzed Wagner's Tristan and Parsifal, Strauss's Salome, Elektra, and Die Frau
ohne Schatten, Berg's Wozzeck, and Puccini's Butterfly, Tosca, Suor Angelika, and
Turandot in a similar way to Pelleas, and in every case there is a coherent tonal
structure governing every level of the opera. I have no doubt that there is such an
organizational structure behind La Esmeralda as well.

I can send you my work on some of these other operas at a later point, but I think that
you have enough right now with Pelleas, and also, of course, La Esmeraldo!

Best wishes, Tim



On Sat, Jun 10, 2017 at 8:09 PM, levi walls <chopinlevi@yahoo.com> wrote:
Dr. Jackson,

     Oh yes. I took those scans just then with my phone for you. I need to make a trip to
a real scanner soon. I'll also send you those since they'll be better in quality. I have
snippets of a Pelleas et Melisande analysis from you. It's mostly act V excerpts in
connection with Madama Butterfly. If there's more, I'd appreciate having it. Thanks!

         , Levi Walls


Sent from my iPhone

On Jun 10, 2017, at 7:33 PM, Timothy Jackson <shermanzelechin@gmail.com> wrote:

Dear Levi,

I got it now. Before you return the vocal score, you may wish to check your scan and
rescan certain pages, which are blurred.

It really is a great work! Amazing! As I wrote you, the contemporary failure may have
been due to poor performance, partly the result of lack of supervision by the composer
herself.


                                                                                          22

                                                                             JACKSON000022
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By the way, the 2008 performance on Youtube makes cuts. I can understand that they
wanted to tighten it, especially since modern audiences will have trouble sitting through
such a long work as it is....

Did I share with you my analysis of Debussy's Pelleas et Melisande? It might be helpful
to look at it given the challenges posed in analyzing opera.

Best, Tim




levi walls <chopinlevi@yahoo.com>                                           Tue, Jun 13,
                                                                         2017, 10:39 AM

to me



This is a great paper. I don't know how much you read, but the author had some serious
access to Bertin's history through primary sources. She went to France on a Fulbright
and actually connected with Bertin's descendants. The information about her
relationship with Hugo is very interesting; Boneau suggests that, because he wrote the
libretto almost concurrently with the novel, he had Bertin in mind as an inspiration from
the get-go (pg. 39). I have to be skeptical of statements like that, because (as incredible
as that would be) it seems unlikely considering what she says in chapter 6. Apparently,
Hugo had aspirations of working on an opera early on and intended to have Notre-
Dame set. But it seems like he settled on Bertin. That's not to say that he doubted her
ability; he obviously held her in enormous regard (pgs. 32-33). But Hugo had
reservations about working with composers of too grand a stature, explaining why he
rejected Rossini and Meyerbeer, both of whom were interested in the project (pg.
403-405). Ultimately, he decided between Berlioz and Bertin, with whom he felt he could
maintain artistic control (pg. 407). The relationship between Bertin and Hugo's wife was
a bit strained. There's no evidence of romantic entanglement between Hugo and Bertin,
but his wife really didn't like her. She felt that he wasted his only operatic venture on her
and even went as far as to say that the project cursed everything even vaguely
connected with it (citing the crashing of a ship called "Esmeralda").

Anyway, I'm still reading it, but it's clearly going to be invaluable! I should also read
Hugo's novel. I've never read it before.



Timothy Jackson <shermanzelechin@gmail.com>                                 Tue, Jun 13,
                                                                         2017, 11:36 AM


                                                                                            23

                                                                                  JACKSON000023
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to levi



Dear Levi,

Yes, I skimmed all of this, not having time to read the whole dissertation carefully. And,
yes, it IS very important for your project.

Years ago, when I was 17, and on my first trip by myself to France, I visited Victor
Hugo's house in Paris, which is also a museum. I recall being very struck by Hugo's
drawings on exhibit there.

https://en.wikipedia.org/wiki/Maison_de_Victor_Hugo

https://www.google.com/search?
q=victor+hugo+drawings&rlz=1C1CHZL_enUS732US732&tbm=isch&tbo=u&source=uni
v&sa=X&ved=0ahUKEwiI39DsnbvUAhVI2SYKHR0eBaMQsAQIJw&biw=2560&bih=133
5&dpr=1.5

Hugo's drawings are amazing, and closely related to the "gothic" quality of his writing. I
don't know if he made drawings for the "Hunchback" - this is something that you must
research. But there are clearly drawings related to the issues treated in both the novel
and the opera!

The "Hunchback" is a great novel, which I read as a teenager in English translation.

The fact that Hugo selected Bertin, whether he wanted to "control" her artistically or not,
is very significant from various points of view. By the way, just because Bertin was
physically rather ugly and misshapen - like the Hunchback himself - does not mean that
Madame Hugo would not be jealous of her husband having a close intellectual-artistic
relationship with Bertin! I can understand Madame Hugo feelings on this point!

You might want to have a crack at reading the novel simultaneously in BOTH the
original French and English translation to get a sense of Hugo's language.

Best, Tim



Walls, Levi <LeviWalls@my.unt.edu>                                        Sat, Jul 15,
                                                                      2017, 12:02 AM




                                                                                         24

                                                                               JACKSON000024
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to me



Dr. Jackson,

        You're welcome! I appreciate your time. My work on Bertin isn't progressing very
fast at the moment. It's definitely what I want to write my thesis on, but I want to spend
some more time reading literature before school starts back up and I'm sleeping and
breathing Bertin. Right now, I'm going through Austen and the Brontë sisters' novels,
plus a stack of Oxford "Short Introduction To" books my wife got me for our anniversary.
I still want to get a good head-start on analyzing Bertin before the semester starts, so I'll
get back to you on it soon.

But on that topic! Even though I've been talking to you about my thesis, I don't want to
make assumptions: I'd like to work on my thesis with you as my major professor. Would
that be acceptable for you? If you have no room, I could also put you as my secondary
and you could be my major professor when I do my dissertation.

          , Levi Walls




In July 2017, Levi decided to write his thesis on French opera composer Louise Bertin
under me:



                                                                            Sat, Jul 15,
                                                                         2017, 7:57 AM




Timothy Jackson <shermanzelechin@gmail.com>


to Levi



Dear Levi,

Naturally I would like to work on the Bertin with you as your major professor! It is
tremendously fascinating to me too for all the reasons we have discussed.

                                                                                           25

                                                                                JACKSON000025
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Recently, I have been discussing with my close friend Madeleine Forte a recent book (in
French) about music in Paris during the Nazi occupation. Madeleine is, of course,
French and a kind of still living connection with pre-WW 2 French culture (she is now
almost 80). She KNEW many of the people involved!!!! She herself was an amazing
pianist who studied with Cortot and Kempff, and wrote her doctoral dissertation on
Messiaen (she was acquainted with both him and his wife). I have not yet discussed
Bertin with her yet, but I or you should. Madeleine's aunt was an opera singer, her first
teacher, and friendly with Faure and other major French opera composers! She knows
an enormous amount about French music and culture, in which she is rooted, so if you
have questions, I can put you in touch with her.

I think that it is important - in addition to the British authors, who are wonderful - that you
read more deeply in Hugo to gain a certain familiarity with his work. English translations
are OK.

By the way, are you familiar with Elizabeth Gaskell, who wrote the first biography of
Charlotte Bronte, which is still highly regarded?

https://en.wikipedia.org/wiki/Elizabeth_Gaskell

She was more mid-19th century than Austin, who is both 18th and 19th century in her
outlook. Gaskell was an amazingly good writer, and interesting person! She was one of
my father's favorite writers.

Another French author I would recommend that you read (in addition to Hugo) is Balzac,
a superb writer with tremendous breadth.

https://en.wikipedia.org/wiki/Honor%C3%A9_de_Balzac

Did you finish reading the dissertation on Bertin? It has a wealth of background
information, and also good observations about the musical surface.

Best, Tim



Walls, Levi <LeviWalls@my.unt.edu>                                           Sat, Jul 15,
                                                                          2017, 6:00 PM

to me



Dr. Jackson,


                                                                                            26

                                                                                  JACKSON000026
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       Great! I'll have to ask you to sign two forms (one is my major contract, which I went over
with Dr. Conlon, and the other is the Request for DesignaGon of Advisory Commihee). When
will you be on campus next? It's not horribly urgent, so I can get it whenever you happen
to have prior business at UNT. I think I'll ask Drs. Bakulina and Schwarz to be my second and
third members.


       Wow, that's a fantasGc connecGon! Allow me to consider some queries and I'll let you
know. I'd primarily just be interested if she knows of BerGn. There are some poliGcal aspects
concerning the family that I want to know more about ajer reading the Boneau dissertaGon. It
seems clear now that the reputaGon of the family, along with some actual shortcomings of the
opera, resulted in the bad recepGon of the opera more than any other controversy. From what I
read, their paper took a royalist stance that wasn't popular with everyone. But considering that
the paper hasn't existed in any form since the German OccupaGon, she may not have much
knowledge of the family, as prominent as they were. I'd also (almost more so) be curious to
know her insights on Cesar Franck, considering her close proximity (and surely her mother's,
since she was friendly with Faure) to that Gme and circle. I performed Franck's VariaGons
Symphoniques for my Senior recital and I've loved him ever since.


      Yes, I plan to raid the third ﬂoor of our library for Hugo biographies next Gme I'm in town.
Also, books on the cathedral couldn't hurt.


      I've never read Gaskell, but I see her works in my iBooks so I'll take a look.


       I've read the dissertaGon by now, but I need to go through again because I read it kind of
casually and I usually take notes on things that I read when I know I need to use the info later.
The biographical informaGon is very thorough, especially concerning her relaGonship with Hugo
and their collaboraGon; I thought the commentary on the musical elements was good for what
the paper was (that is, non-theoreGcal). I felt it someGmes fell into the trap of a lot of music
criGcism where they don't exactly know how to talk about phrase-structure (works like Lerdahl
and Jackendoﬀ's, and Rothstein's were just coming out around 1989) so they resort to kind of
vague language -- like calling the phrases "ﬂuid," "organic," or "short-winded." But there were
also good observaGons and I appreciated all the name dropping of other composers when they
discussed BerGn's stylisGc similariGes and diﬀerences. Thanks, Levi Walls




                                                                                                 27

                                                                                       JACKSON000027
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Levi wrote his thesis under me. There are many emails about it, which I do not include
here. I spent huge blocks of time correcting its language and substance. He asked me to
recommend him for the doctoral program, which I did in Nov. 2017:


Timothy Jackson <shermanzelechin@gmail.com>                             Thu, Nov 30,
                                                                       2017, 2:03 PM

to Levi



Dear Levi,

How are things coming along with your analysis of "L'Esmeralda?" Would you like to
meet tomorrow to continue going through it?

I submitted the following letter (I usually share letters of recommendation with the
people for whom I write them so that the process is transparent):

It is with pleasure that I write in the strongest support of Levi Walls’s application
for a place in the doctoral program in Music Theory at the University of North
Texas. This is, in fact, a very easy recommendation to write since Levi is a truly
excellent all-round student. He is currently writing his Masters thesis on the
opera “L’Esmeralda” by Louise Bertin (based on a libretto by Victor Hugo) under
my supervision. I can report that he has made tremendous progress this
semester and is on his way to completing a first-class study of the structure of
this opera and its connection with the plot (based on Hugo’s famous novel, The
Hunchback of Notre Dame). There is no doubt that Levi is currently one of our
strongest Masters students, and I am fully confident that he will prosper in the
doctoral program going forward. I have heard that he is an excellent student from
all of the other professors with whom he has studied, without any exception,
which does not surprise me in the least given what I know of him and his
work. Levi enjoys my full and unqualified backing as he progresses with his
studies.
Timothy L. Jackson
Distinguished University Research Professor of Music Theory
Professor of Music Theory
College of Music
University of North Texas
Denton, TX 76203 USA



Walls, Levi <LeviWalls@my.unt.edu>                                       Thu, Nov 30,
                                                                                          28

                                                                              JACKSON000028
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to me



Dear Dr. Jackson,

     Thank you for the leher and support! My analysis is coming along well, although I won't
have the free Gme to meet tomorrow; my students have a test on Monday and I'm having extra
oﬃce hours. Predictably, they have a lot of trouble with the 6/4 types. Could we meet Monday
at 10?

       In other news, I'm working on absorbing more repertoire and decided to organize a weekly
list, focusing on about an hours worth of music for a composer each day. I thought you'd be
interested in my list for next week (ahached). UnGl Monday, I'm looking at the composers you
menGoned on Monday.

        Regards,

                    Levi Walls




I searched out a possible award for him to conduct research in France:

                                                                       Fri, Dec 15, 2017,
                                                                                10:31 PM
Timothy Jackson <shermanzelechin@gmail.com>


to levi, Levi



Dear Levi,

I am wondering whether you might apply for this award to conduct research in Paris at
the Bibliothek Nationale on Bertain.

What do you think?

Best, Tim



                                                                                             29

                                                                                  JACKSON000029
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Finishing the Semester
Inbo    x




x


Walls, Levi <LeviWalls@my.unt.edu>                                             Sun, Apr 22,
                                                                             2018, 3:37 PM

to me



Dear Dr. Jackson,

      Let's plan to meet next at the end of ﬁnals week (5/11). I know that's a big gap, but I need
some Gme to focus on some other papers (one on the emergence of triadic harmony in
Renaissance music for Lavacek, and one analyzing the ﬁrst movement of Elfrida Andree's piano
quintet for Cubero). I'm sGll working on the thesis daily of course, but I have a lot of work to
ﬁnish for classes. Also, I'm doing a piano jury this semester and need to pracGce. Thanks!

       P.S. Could you please send me your work on punctuaGon form?

Here's a link to that quintet I menGoned. It reminds me of Mahler, and also Mendelssohn.

\hhps://www.youtube.com/watch?v=-WE1p4k3qkg\


to me



Levi finished and defended his thesis. To increase his knowledge of the repertoire of French
opera, I loaned him my own personal CDS of rare recordings:

French operas
Inbo    x




x


Timothy Jackson <shermanzelechin@gmail.com>                                    Sat, Jul 21,
                                                                           2018, 12:27 PM




                                                                                                30

                                                                                    JACKSON000030
Case 4:21-cv-00033-ALM Document 1-2 Filed 01/14/21 Page 32 of 71 PageID #: 84




to Levi, Levi



Dear Levi,

How are things going with French opera?

Best, Tim

Walls, Levi <LeviWalls@my.unt.edu>                                               Sat, Jul 21,
                                                                              2018, 4:30 PM

to me, Levi



Dear Dr. Jackson,

      Things are ﬁne. I haven't gohen to all the cds you lent me, although I've made copies. I
listened to Les Deux Journees with the full score and Lodoiska is next. Les Deux Journees is not
as complex as La Esmeralda, but there are sGll worthwhile moments; I especially liked the act 1
ﬁnale, which is in Eb but starts with an auxiliary cadence (V) before going I-III♮3-V/II-II-IV-V-I.
So, it was the most ﬂeshed-out in terms of large-scale structure. When I listen with a score, I like
to make notes on an index card about tonal structure for later; that didn't necessarily lead to
any profound conclusions with Les Deux Journees, but the preliminary data is at least there for
me to look at if I make a more detailed study later. Tonal structure and form is obviously so
important for understanding a composiGon, so I'm trying to build up a rolodex of these index
cards. There was some discrepancy between the recording and the score. The recording cut out
no. 8 (a melodrama) which was weird because it was only 26 measures long and taking it out
obviously changed the tonal structure. The other thing was that Constance's act 3 aria was
missing from both the full score and the vocal score, but it was prehy steadily in Bb, so I could
sGll include it in my notes.

     I watched Bleak House and you were right, it was incredible! A great producGon, and clearly
a fantasGc work. Dickens is so good at wriGng altruisGc characters (like John Jarndyce) and, at
the same Gme, he can write characters that are basically the devil (like Tulkinghorn). They're
both very interesGng, although each is really stock character (but you could say that every
character imaginable is at least a variaGon on a stock character). His ability to write both so
well makes A Christmas Carol (which, not caring much for Christmas, I never liked) more
interesGng to me because he manages to write a character that expresses both stock types.

    We should set up a Gme that I can return your cds (including the big book). I made copies of
everything, which will really come in handy. I'm leaving for California in less than a week to visit

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                                                                                      JACKSON000031
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my in-laws, although I'm sure I'll spend a lot of my Gme there studying. They won't mind. Are
you available on Tuesday for me to drop by?

    Regards,

             Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, July 21, 2018 10:27:01 AM
To: Walls, Levi; Levi Walls
Subject: [EXT] French operas




In the summers, Levi visited my house for private consultations. I also lent him my own
DVDs of dramatizations of 19th century English novels:




Timothy Jackson <shermanzelechin@gmail.com>                                   Sat, Jul 21,
                                                                           2018, 6:48 PM

to Levi



Dear Levi,

Tuesday should work. I think that Heejung teaches in the afternoon, so perhaps the later
morning would be best.

Just a brief reply for now. I am pleased that you enjoyed Bleak House - it is both a great
book and wonderful dramatization that truly captures the essence of Dickens' original
novel.

Is there a DVD of the dramatization of George Elliott's Daniel Deronda in there? It too is
superb. If it is not there, I will look for it and lend it to you when you come.

Best, Tim



Walls, Levi <LeviWalls@my.unt.edu>                                            Sat, Jul 21,
                                                                           2018, 7:28 PM

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                                                                                   JACKSON000032
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to me



Yep, Daniel Deronda is in there. How about 11 o’clock on Tuesday?

     - Levi Walls

Eichner, father and daughter
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                                Tue, Jul 31,
                                                                        2018, 12:24 PM

to Levi



Dear Levi,

I thought that this information about A M Eichner might interest you.

https://en.wikipedia.org/wiki/Adelheid_Maria_Eichner#Works

In my article on "Punctuation Form" I discuss the MP 1 of her father Ernst Eichner's
Symphony in G minor.

Now, for the follow-up article, I have been studying and analyzing the rest of the
movement (MP 2-3). It is really fine. Clearly, Eichner (father) was a top-class composer.

Now the daughter's music - her Lieder - is published in a modern edition, but as far as I
can tell, there is no recording - yet!

I am going to get the Lieder scores and take a look. Apparently, the daughter received
superb musical training from the father, and became famous as a virtuoso singer AND
pianist.

Best, Tim




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                                                                               JACKSON000033
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Walls, Levi <LeviWalls@my.unt.edu>                                         Tue, Jul 31,
                                                                         2018, 3:44 PM

to me



Dear Dr. Jackson,

Thanks for the email. I’d like to see those lieder scores at some point. You might be
interested in this composer: https://en.m.wikipedia.org/wiki/Elfrida_Andrée

She was quite accomplished as an organist and activist, and I like her music, especially
her piano quintet. I might have mentioned her before. Here’s a link to her complete solo
piano works: https://m.youtube.com/results?search_query=elfrida+andree+piano+works
I’d like to look at her opera, but it doesn’t seem to be published aside from some arias in
a collection of various Swedish works.

Working on the article has taken a backseat to studying for entrance exams and quals
(also I’m in California with family) but it’s on my mind. I really need to start publishing
soon in order to be competitive.

I most recently read Anna Karenina, The Hunger Artist, and a collection of Tolstoy short
stories, so you could say I’m on a Russian kick at the moment. I read something
recently that said Kafka’s works, which often center around a character who is wrongly
persecuted or made to feel worthless by an indifferent force, were his way of working
out his feelings towards his abusive father; but I think that interpretation may be reading
too far into his biography. It’s possibly better to say that his pessimism simply fits into
the realist and naturalist movements of the time. But maybe there is also something to
the biographical component.

    Regards,

               Levi Walls


________________________________
From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Tuesday, July 31, 2018 10:24:59 AM
To: Walls, Levi
Subject: [EXT] Eichner, father and daughter


Timothy Jackson <shermanzelechin@gmail.com>                                Sat, Aug 25,
                                                                         2018, 1:03 PM

                                                                                              34

                                                                                JACKSON000034
Case 4:21-cv-00033-ALM Document 1-2 Filed 01/14/21 Page 36 of 71 PageID #: 88




to Levi



Dear Levi,

Since you have an interest in women composers, I thought that I would forward this
information about the Russian-Jewish composer Zara Levina. The new CD of her piano
concertos has been nominated for a Grammy. I have to delve into her music more
carefully, but my initial impression is very positive, especially of the later, Second Piano
Concerto.

https://libproxy.library.unt.edu:2086/catalogue/item.asp?cid=C5269

https://en.wikipedia.org/wiki/Zara_Levina

https://theaderks.wordpress.com/2017/12/28/zara-levina-piano-concertos-rachmaninov-
meets-shostakovich/




Walls, Levi <LeviWalls@my.unt.edu>                                        Mon, Aug 27,
                                                                         2018, 6:18 AM

to me



Dear Dr. Jackson,

      This is great! Her harmonies (especially in the piano sonata) give me a very
unique feeling in the core of my brain that, previously, only Prokofiev had managed.
Both concertos are great, but I actually prefer 1 to 2, though it is hard to say why. I’m
definitely showing Levina to my young aural skills students as part of my attempts to
widen their musical purviews!

       Here’s something by Elisabeth Lutyens, a British serialist:
https://m.youtube.com/watch?v=73kMX1ENUEo
She claimed to have developed her style without the influence of the second Viennese
school of composers, which she said she only became aware of afterwards. However, I
feel that she may have been taking a leaf from Wagner’s book by mythologizing her
own musical upbringing. She seems to have a liking for symmetrical structures. You
may hear that in the piece I posted, but also in her larger work, Quincunx, which
involves symmetrical 5-part groupings of sections (like a Quincunx).

Regards, Levi Walls

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                                                                                JACKSON000035
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Ruth Gipps
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                              Sun, Sep 23,
                                                                       2018, 11:40 PM

to Levi



https://libproxy.library.unt.edu:2086/catalogue/item.asp?cid=CHAN20078

I thought that this new release from Chandos of Ruth Gipps might interest you.....

Best, Tim

Walls, Levi <LeviWalls@my.unt.edu>                                       Mon, Sep 24,
                                                                        2018, 2:55 PM

to me



Dear Dr. Jackson,

     Yes, thank you, I’ll check this out. I appreciate your emails, especially since I know
you’re busy! I read Dr. Murtomaki’s article on the neglect of Bohemian composers,
which was informative and gave me a good long list of new composers to check out.
Currently reading Latham’s Tonality as Drama, which I’ve referenced before but not yet
read in full. I think there is a lot in there that I can use to inform my own research on
opera. And for the first time in a while, I’m practicing piano regularly. And analysis of
course.

      I recently discovered an online resource that I knew you would appreciate. It’s a
database of thousands of composers who are female or from non-European/US
countries. In general, just composers from outside the canon, and you can search by
genre and instrumentation! Of course, there are so many European male composers
who are also overlooked, but this database chooses to focus on those other groups.

https://composerdiversity.com

       Regards, Levi Walls


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                                                                               JACKSON000036
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From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Sunday, September 23, 2018 9:40:38 PM
To: Walls, Levi
Subject: [EXT] Ruth Gipps

...

[Message clipped] View entire message

 Timothy Jackson <shermanzelechin@gmail.com>                                   Tue, Sep 25,
                                                                             2018, 11:23 AM

 to Levi



Dear Levi,

Thank-you for all of this interesting information!

Here a little tidbit: In 1830, Hummel gave three concerts in Paris; at one of them, a rondo by
Hummel was performed by Aristide Farrenc's wife, the composer Louise Farrenc, who also "sought
Hummel's comments on her keyboard technique."


Best wishes, Tim



             ReplyForward

Maria Teresa Prieto
 Inbo   x




 x


 Timothy Jackson <shermanzelechin@gmail.com>                                    Fri, Dec 14,
                                                                              2018, 8:57 PM

 to Levi



https://www.youtube.com/watch?
v=cKkKZyUn1PU&list=PLshMjd9c4cQZNZ7fXJCJxyg4-hTevojth

Dear Levi,

                                                                                                 37

                                                                                      JACKSON000037
Case 4:21-cv-00033-ALM Document 1-2 Filed 01/14/21 Page 39 of 71 PageID #: 91




Have you heard of this composer?

Best, Tim
Attachments area
Preview YouTube video Impresion sinfonica




Walls, Levi <LeviWalls@my.unt.edu>                                         Sat, Dec 15,
                                                                         2018, 7:21 AM

to me



Dear Dr. Jackson,

      I had not. I’ll listen to more of her music today. I see that she studied with Milhaud.
I went into the piece you sent expecting to hear a mixture of the French and Spanish
styles, but the first half actually reminds me a lot of Tristan (which is funny considering
Milhaud’s antipathy towards Wagner’s music). But, of course, that dislike wouldn’t
necessarily have been inherited by Prieto, and even composers who purportedly had a
distaste for Wagner still exhibited his influence (like Franck and his D major string
quartet, although I’ve heard it argued that he’s actually mocking Wagner in that case).
The key structure of Prieto’s piece seems interesting. I don’t have music in front of me,
but it seems to begin and end in G major although, in both cases, the voicing of the
chord substantially weakens the strength of tonic. Then there’s the big half cadence in
the relative minor (around the 7-minute mark) before a rather shocking move to G
minor. Since she really draws out the half cadence, it seems clear that she wants to
draw as much attention as possible to the lack of resolution. If I were analyzing it, I’d
probably look for evidence of tonal pairing between G and E minor and maybe between
G and B major. But I’d have to be prepared to relinquish that theory if the score didn’t
support it since I’m basing so much off of an initial hearing. Thanks for sending it to me!

     Regards,

                Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, December 14, 2018 6:57:36 PM
To: Walls, Levi
Subject: [EXT] Maria Teresa Prieto

                                                                                           38

                                                                                 JACKSON000038
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Your card
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                                Tue, Mar 5,
                                                                        2019, 8:25 PM

to Levi



Dear Levi,

I want to thank you for your very kind card, which Stephen Hahn brought with him when
he visited me on Monday.

In January I suddenly had increasingly excruciating pain in my groin and my right leg,
which only became worse and worse.

The doctors noticed problems with my spine, but they also thought that I might have a
hernia. It was not until I was able to have a MRI done of both my lower back and groin
areas that the hernia could be definitively ruled out; however, it turned out that I have
three problematic discs in my back, and these were and are affecting nerves in the groin
area and in my right leg.

A month ago, I had the first of two spinal injections to reduce the inflammation, which
alleviated the terrible pain, and two weeks ago, I had the second shot. On this Thursday,
I will meet the specialist to discuss the next steps. It is clear that I will need to have
physical therapy, and perhaps further procedures to deal with "collateral damage" to the
nerves in my leg. At present, it is difficult and painful to sit at the computer too long, so
that I have mainly been occupied analyzing music on my back, consoling myself with
the thought that I might be a bit like Michelangelo working on the frescoes in the Sistine
Chapel, and hopefully have just a tiny modicum of his talent!

One of the things I have done is to have a crack at analyzing Dora Pejacevic's Second
Piano Sonata, which I think is a superb work. Also, of late, I have been analyzing the
music of Polish composers: Paderewski, Szymanowski, and Bortkiewicz (although the
Ukrainians claim him!).

How are your courses going? I do miss our lively and interesting discussions! Have you
thought more about your dissertation topic, and research interests?

It would be nice to hear from you.

                                                                                          39

                                                                                JACKSON000039
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With best regards,

Tim



Walls, Levi <LeviWalls@my.unt.edu>                                       Wed, Mar 6,
                                                                      2019, 10:05 AM

to me



Dear Dr. Jackson,

      Thanks for the update. That sounds incredibly uncomfortable, but I’m glad you’re
finding ways to work through it.

     Courses are going well. I’m in the last part of analytical systems, where I got to
give a very interesting presentation on major philosophical inspirations in Schenker’s
work. So, I got to talk a lot about Kant, Schopenhauer, Leibniz, and Goethe. I’m also in
a rock music seminar with Dr. Heetderks and a scholarly writing class in the English
department. My writing has improved significantly since my thesis.

      In the scholarly writing class, we spend all semester workshopping a single paper,
with the end goal being to submit it to a journal. I’ve been writing a paper on the
historical circumstances that have held back Schenkerian approaches to opera,
focusing on Schenker’s myopia, formalism, and the false dichotomy of absolute and
programmatic music. I also feel that the rejection of Alfred Lorenz has contributed
somewhat to the issue. Even though he wasn’t a Schenkerian, he argues for the
possibility of unity in opera (or, at least, in Wagner’s operas) and theorists seem keen
on sacrificing his approach on a political altar. Of course, I have to be careful to frame
that facet of the issue in the right way. In general, I have to be especially careful.

       Another paper I’ve had simmering is a little outside my normal research interests
but it’s good to work a little with canonized repertoire. I haven’t yet done much with it
because I came up with it spontaneously while listening to Brahms’s second piano
concerto in concert. Brahms seems to take a simple triplet from the first movement,
evolve it into a 2/3 grouping dissonance in the second movement, making it more
pronounced in the third, then finally creates a somewhat jarring subconscious grouping
dissonance (Krebs’s term) in the last movement. But I need to check what others have
written about it.

      Other than my normal studies and research, I’ve been reading a lot. Trying to get
through a book a week. Out of the 10 or so that I’ve in the last two months, my favorite
has been Wives and Daughters by Gaskell; I was so sad when it ended before Molly
                                                                                         40

                                                                              JACKSON000040
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and Roger finally got together (since Gaskell died before finishing it). At the moment I’m
reading You Can’t Go Home Again by Thomas Wolfe. So far it seems to be an exposé of
decadence during the roaring 20s.

       Regards,

                  Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Tuesday, March 5, 2019 6:25:48 PM
To: Walls, Levi
Subject: [EXT] Your card




Levi is giving a paper at the Society for Music Theory this November on Berlioz’s opera Les
Troyens. The topic and the analysis itself grew out of his work with me:



Les Troyens
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                                 Wed, Mar 13,
                                                                           2019, 2:17 PM

to Levi



Dear Levi,

I have been watching the 1983 Met production of Berlioz's Les Troyens. Jessye Norman
as Cassandra is amazing! Wow!

My feeling is that this opera is Berlioz's greatest work. It probably is the best French
opera of all time.

Full and vocal scores are on IMSLP.

Best, Tim


                                                                                           41

                                                                                JACKSON000041
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Walls, Levi <LeviWalls@my.unt.edu>                                               Wed, Mar 13,
                                                                                2019, 9:55 PM

to me



Dear Dr. Jackson,

       Thanks for the emails! I'm sGll looking through your Szymanowski materials that you were
kind enough to send; I got extremely engulfed in the book I was reading, but I've now ﬁnished
it. I can already see/hear the centrality of C in the third act. I'll enjoy following your analysis. I
noGce (just listening, sans score) that the ﬁrst act also seems to center around C and E as you
suggested. To start, the chorus and bass seem to emphasize B, then C#, then A, but these ﬁrst
few minutes seem more like a prelude. So, the "real" beginning (so to speak) would be the huge
crescendo that arrives on a triumphant C major sonority, which is also when the tenor comes in
with that third progression. And it sounds like it keeps coming back unGl the ﬁrst act ﬁnally ends
in C. Very interesGng.

     I have the 2010 Dutch NaGonal Opera video recording of Les Troyens, and the 1970 Colin
Davis Royal Opera House recording on vinyl. You might be interested in a part of the insert from
the record, which includes excerpts of lehers/memoirs regarding the opera. I'll ahach pictures
here (font may be small, but you'll be able to zoom in if you download them).

      The end of the ﬁrst part (La prise de Troie) is very interesGng because it seems as if it is
going to end in FM (the key of the prelude for the second part) but then it somewhat abruptly
ends in Cm. Because of this, both parts feature a V-I key relaGonship from beginning to end (La
prise de Troie starts in G and ends in Cm, while Les Troyens starts in F and ends in Bb). Since I
haven't graphed the opera, it's more of a casual observaGon than a serious hypothesis, but
those key relaGons make a lot of large-scale tonal sense (In Bb, V/ii-ii-V-I). Could be something
there. I'll have to keep the opera in mind, especially since Berlioz ﬁts very nicely into my
research interests. He's one of the composers that has a clear love and appreciaGon
of literature.

    Regards,

               Levi



From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Wednesday, March 13, 2019 12:17:39 PM


                                                                                                   42

                                                                                        JACKSON000042
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To: Walls, Levi
Subject: [EXT] Les Troyens

4 Attachments




Timothy Jackson <shermanzelechin@gmail.com>                                 Thu, Mar 14,
                                                                           2019, 9:07 AM

to Levi



Dear Levi,

I will look at the tonal structure in light of your comments. I have the vinyl Colin Davis
and will check the notes (thank you for the photos). I also have Dutoit’s recording on
cd.
Is the 2010 dvd good?

Everything you are hearing in King Roger is correct! The opera begins with a big aux
cadence to C. Perhaps Szymanowski learned this from studying Strauss’ Electra, which
does the same except in C minor.

I think that Les Troyens would be well worth an in depth study along the lines of your
investigation of Bertin!

Berlioz’s libretto is masterly! It reflects his literary sophistication.

Best wishes,

Tim
Sent from my iPhone

Notre-dame
Inbo   x




x
                  Levi



Schenkerian Studies TA
Inbo
                                                                                             43

                                                                                JACKSON000043
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Graf, Benjamin <Benjamin.Graf@unt.edu>                                                     Mon, Apr 22,
                                                                                          2019, 9:50 AM

to me, Stephen, Benjamin



Tim, Stephen, and Benjamin,

I wrote to Levi and he already responded; he has accepted the posiGon. I am sure he will thrive
in the in his new role and I look forward to mentoring him starGng in August/September!

Best,
Ben

Benjamin Graf, Ph.D.

University of North Texas
Music History, Theory and Ethnomusicology

Oﬃce: MU215




Brand, Benjamin <Benjamin.Brand@unt.edu>                                            Mon, Apr 22, 2019,
                                                                                             11:03 AM

to Benjamin, me, Stephen



Thank you, Ben. To reiterate, Levi’s appointment is still conditional on our ability to cover aural
skills. Once that is confirmed, I would ask that Tim, Stephen, and you formulate a job description
that clearly specifies Levi’s duties. I am attaching a similar document that Frank created for
the Theoria TA position for the sake of comparison.

Best,
Benjamin

Benjamin Brand | Professor of Music History | Chair, Division of Music History, Theory, and Ethnomusicology
College of Music | University of North Texas | 1155 Union Circle #311367 | Denton, TX 76203 | (940) 536-3561

                                                                                                               44

                                                                                                   JACKSON000044
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Attachments area



Berlioz
Inbo   x




x


Timothy Jackson <shermanzelechin@gmail.com>                                Fri, May 10,
                                                                        2019, 10:21 AM

to Levi



Dear Levi,

If you find yourself liberated, and are interested, I would like to look at some Berlioz with
you.

I have worked on the outer sections of Cleopatre. If you would like to analyze them on
your own, then we could compare readings. What do you think?

At some point, I am keen to go through parts of Les Troyens. In my opinion, this opera
is Berlioz at his very best! Parts of it are just stupendous.

Also, I did some analysis of the Second Piano Sonata by Pejacevik; it is very unusual
and fascinating. I have been working with Juana Montsalve on her doctoral dissertation
on Maria Theresa Prieto, with a focus on her song cycle, and that has proven
fascinating. Juana won a grant to do some archival digging in Mexico about Prieto, and
she is leaving for Mexico next week.

With best wishes, Tim


Walls, Levi <LeviWalls@my.unt.edu>                                         Fri, May 10,
                                                                         2019, 1:02 PM

to me



Dear Dr. Jackson,



                                                                                           45

                                                                                JACKSON000045
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     Yes, looking at some Berlioz sounds nice. I’m finally done with the semester, so I
can start my summer studies. I’ll go print out the score for Cleopatre so I can analyze it
on the large papers and we can compare. We can also talk about Les Troyens.

      Have you ever analyzed Berlioz’s La Damnation de Faust? I’m interested in Les
Troyens, naturally, but I’d like to analyze the Faust opera. Faust has always been a
character that interests me. I identify with Faust at the beginning of the work (not so
much after he signs the contract and adopts his Hedonistic lifestyle). On a related note,
I’m reading Doctor Faustus by Mann. It’s been on my list!

      Regards,

                Levi
________________________________
From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, May 10, 2019 8:21:00 AM
To: Walls, Levi
Subject: [EXT] Berlioz
...

[Message clipped] View entire message


Timothy Jackson <shermanzelechin@gmail.com>                              Fri, May 10,
                                                                       2019, 1:09 PM

to Levi



Dear Levi,

I have not analyzed the Berlioz Damnation although I have also been interested in it for
a long time. So, why not Cleopatre first and then Damnation. There are also the
Schumann Scenes from Faust, and Mahler's Eighth Symphony Part II. I have studied
the Mahler very carefully, and also gone through the Schumann too superficially - but
enough to believe it is one of Schumann's really strong pieces. I have also studied
Liszt's Faust Symphony in depth.

I will pull out my score of the Damnation.

Best, Tim


Walls, Levi <LeviWalls@my.unt.edu>                                       Fri, May 17,
                                                                       2019, 8:52 AM


                                                                                         46

                                                                               JACKSON000046
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 to me



Dear Dr. Jackson,

      I’m most interested in the fact that the opera follows a very similar tonal trajectory
to La Esmeralda, starting in D major and centering around a tonal pairing between D
major and F major. This is consistent for the first three acts. It’s not until the fourth act
that things go off the rails. Of course, act four is where things go sour in this version of
the story. Marguerite, having accidentally killed her mother, is in prison and Faust must
sign away his soul in order to save her. At this point in the opera, the tonal structure
turns to darker keys, focusing on Ab and Db major. So, the opera ends in Db instead of
D. As we’ve discussed before, I see downward semitonal shifts as tragic in nature.

      The tonal similarities to La Esmeralda (with D major and F major as focal points)
is especially interesting since Berlioz wrote La Damnation afterwards. Of course, Berlioz
would have been extremely familiar with the score since he edited it. Furthermore, the
only other adaptation of Faust to move the contract signing to the end of the story
(which makes Faust a more sympathetic character) is Bertin’s.

       Beginnings and endings are sine qua non to understanding the deeper meaning
of any story, but I’m starting by examining act 2 and the first part of act 3. Act 2 is almost
entirely in D major, which is obviously very unusual (and important); from there, it moves
to F major (once again).

      Did you want to get together sometime to talk about opera? I’m unable to travel
Friday through Sunday because my wife works all day and has our only car, but I’m
available the other days of the week. And, of course, I’m always walking distance from
campus. I’m working on fixing the css site this month, so I’ll give you an update in a
week or so.

       Regards,

                  Levi

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Thursday, May 16, 2019 9:13:29 PM
To: Walls, Levi
Subject: [EXT] Which part of the "DamnaGon" to study?

...

[Message clipped] View entire message




                                                                                            47

                                                                                 JACKSON000047
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 Timothy Jackson <shermanzelechin@gmail.com>                                Fri, May 17,
                                                                         2019, 10:07 AM

 to Levi



Dear Levi,

That is very interesting indeed! I see your point now. Yes! I do understand exactly what
you are getting at.

I had in mind that you might want to analyze one or two of the parts of "Damnation" in
detail, because there are many interesting motivic, harmonic, and other features. My
preference would be the Third and Fourth Parts if you are up for it.

Otherwise, my preference would be to dive into Les Troyens, which I consider Berlioz's
supreme achievement.

What do you think?

I am in the process of moving into a new house, so my books, CDs, scores, etc. are all
in boxes. Still, life and thought go on, and I feel it is important to dig deeper into Berlioz.

We could meet when you have mobility.

Also, have you had a chance to look through the outer sections of Cleopatre? It is
worthy of study.

Best wishes, Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                          Fri, May 17,
                                                                           2019, 1:09 PM

 to me



Dear Dr. Jackson,

     Yes, I’ve been going through Cleopatre. It’s starting to make more sense. I have
ideas about the overall structure, which I currently read as a massive II-V-I auxiliary
cadence in Ab. Key areas like B major and F minor function as contrapuntal

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                                                                                  JACKSON000048
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embellishments on Eb and Ab major, respectively. At the moment, I’ll hold off on saying
more until I have graphs in order. Perhaps we can meet during the week next week.

      Sure, I can analyze the 3rd and 4th parts of Faust. That would show the
movement from D to Db pretty clearly. I’ll keep Les Troyens in mind, though. I’m
interested in both operas; Faust is just winning by a nose. Looking at an old email, I
realized that I forgot to answer your question about he 2010 recording of Les Troyens.
The production quality is really high, but I’m lukewarm about the set and costume
design. It’s just a bit minimalistic for my tastes. The chorus could have been more
together, as well, but I’m really nitpicking. Overall, it’s a fine recording.

       Regards,

                  Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, May 17, 2019 8:07:13 AM
To: Walls, Levi
Subject: Re: [EXT] Which part of the "DamnaGon" to study?

...

[Message clipped] View entire message


 Timothy Jackson <shermanzelechin@gmail.com>                              Fri, May 17,
                                                                        2019, 7:19 PM

 to Levi



Dear Levi,

Let's meet next week, if possible, to discuss Cleopatre. I will start looking deeper into
the last parts of "Damnation," time permitting.

I might want to make a trip to Houston next week to see the amazing exhibition of Van
Gogh paintings there - a once in a life time opportunity, apparently. You might want to
see it.

I don't know if I mentioned that we are moving to a new house at the end of the month.
So, lots of boxes are around and most of my library is packed up! But I kept out my
score of "Damnation."

Best wishes, Tim


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                                                                               JACKSON000049
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 Walls, Levi <LeviWalls@my.unt.edu>                                   Sat, May 18,
                                                                    2019, 2:09 PM

 to me



Dear Dr. Jackson,

     Yes, let’s meet on Thursday, if that works for you. Perhaps 1 pm?

     Moving is the worst! Thanks for keeping the Damnation score at hand, and for
encouraging my research interests!

     Regards,

                Levi

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, May 17, 2019 5:19:14 PM
To: Walls, Levi

 Timothy Jackson <shermanzelechin@gmail.com>                         Tue, May 21,
                                                                    2019, 7:39 PM

 to Levi



Dear Levi,

I will see you on Thursday at 1pm.

Best, Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                  Tue, May 21,
                                                                    2019, 8:30 PM

 to me



Dear Dr. Jackson,



                                                                                     50

                                                                          JACKSON000050
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      Great, I’ll see you then, and I’ll bring my Cleopatre graphs!

      Regards,

                    Levi Walls



 Timothy Jackson <shermanzelechin@gmail.com>                               Sat, May 25,
                                                                         2019, 10:45 AM

 to Levi



Dear Levi,

I fully agree with your auxiliary-cadence analysis of Cleopatre as II-V-I in Ab major!
Bravo! The difficult question (as I see it) is, what precisely is the meaning of the F minor
episode, and how does it fit into this overarching background scheme? Also, there are
many, many complexities in the opening Bb minor (in spite of the key signature) section,
the Eb major section, and then the motion from Eb major to F minor, and F minor to Ab
major. After intensive struggle, I now have an idea as to how to explain the voice leading
connections, and it will be most interested to compare my reading with yours. The delay
in meeting was good. I was unhappy with my earlier analysis. Now I think that I have
something much better!

Before I forget, I should alert you to the upcoming Euromac 10 Music Analysis
Conference in Moscow. I think that you definitely should put in a proposal. It would be a
good place to scout out some future submissions to the JSS.




 Walls, Levi <LeviWalls@my.unt.edu>                                        Sun, May 26,
                                                                          2019, 2:20 PM

 to me



Dear Dr. Jackson,

   I’m glad you agree. Yes, that reading seems especially appropriate considering the in
medias res nature of the text.

                                                                                            51

                                                                                  JACKSON000051
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    Yes, thank you for the heads up. I will deﬁnitely submit a proposal for that conference,
along with others.

     I wasn't very familiar with seyngs of Whitman unGl a few months ago. A student in the
scholarly wriGng class was doing research on Whitman and opera and asked for some feedback,
so I did some listening at that Gme. I especially like the reconciliaGon secGon of Dona nobis
pacem. I feel that Williams really grasped the meaning of the text, as evidenced by the three-
fold repeGGon of the ﬁrst half. It's ﬁrst experienced by the individual (baritone), then the
individual is subsumed into the collecGve (chorus), as is the case with war. The third
varied repeGGon may represent the arrival of a new, fresh, collecGve, as if the "washing of the
soiled world" took place during the second half of the poem. "ReconciliaGon" seems like a very
interesGng poem for Whitman (or, at least, how I tend to think of him). It's deﬁnitely not pro-
war, but it also accepts war as a necessary evil.

   Wednesday at 2 is good for me. I'll see you then! I assume it's at your previous address
(Woodside Drive in Highland Hills), rather than the new one. Let me know if I should go to the
new house.

      Regards,

                 Levi Walls




From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, May 25, 2019 8:45:06 AM
To: Walls, Levi
Subject: [EXT] Re: Feeling sick today

...

[Message clipped] View entire message


 Timothy Jackson <shermanzelechin@gmail.com>                                 Sun, May 26,
                                                                            2019, 3:52 PM

 to Levi



Dear Levi,

                                                                                                 52

                                                                                    JACKSON000052
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We don't close on the new house until Thursday. Still, I have been distracted a bit with
packing up my library.

I like VW's Whitman settings a lot; he seems to capture something essential in the
poetry. Interesting that you notice an acceptance of war as a necessary evil. The piece
was composed at a time when VW was really struggling - as were many in Britain - with
the possibility of another war with Germany - this time with Hitler's Germany. VW was
involved with settling German-Jewish refugees coming to England, so that he knew first
hand what the Nazis were doing to the Jews - the Jews being the canaries of the world.
Like most Europeans - non Germans - at that time, VW did not want another war.
Therefore, I believe that he was drawn in two directions: on the one hand, to want to
avoid conflict, and on the other perceiving the necessity of confronting the bully, and this
tension is felt in the work. Then there is the whole episode of the Hamburg Prize, which
VW accepted from Nazi Germany in the hope of easing tensions, but which left a bitter
after-taste - and he never did receive the promised monetary component. The backstory
to this prize is extremely interesting and important for understanding VW's works of the
later 1930s.

Best wishes, Tim



 Timothy Jackson <shermanzelechin@gmail.com>                             Wed, May 29,
                                                                       2019, 10:00 AM

 to Levi



Dear Levi,

Just confirming your visit at 2pm today. We are in a bit of disarray, but I am ready to
discuss Cleopatre.

Best, Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                      Wed, May 29,
                                                                       2019, 10:49 AM

 to me




                                                                                           53

                                                                               JACKSON000053
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Dear Dr. Jackson,

        Yes, I will be there at 2. See you then!

        Regards,

                   Levi

In May 2019, we were moving. I gave Levi about 600 recordings to help him expand his
knowledge of repertoire and study for his qualifying exams. I also gave him stereo
equipment that I was not using.

pick of records

 Timothy Jackson <shermanzelechin@gmail.com>                           Fri, May 31,
                                                                     2019, 6:11 PM

 to Levi



Dear Levi,

Would you have time this weekend to pick up the records that I have put aside for you?

Best wishes,

Tim

some equipment that works that I don't use
 Inbo   x




 x


 Timothy Jackson <shermanzelechin@gmail.com>                           Fri, May 31,
                                                                     2019, 6:17 PM

 to Levi



Dear Levi,




                                                                                       54

                                                                            JACKSON000054
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I have a projector that works; it is about 12 years old, but still has life left in it. It was
excellent quality when I bought it.

Also, I have a Rotel Amplifier that needs a fuse replaced. If you know someone who is
good with electronics, they could probably do it. Rotel is a good brand.

Additionally, I have an Adcom Preamp that has an issue with one of the settings - I
forget which. At one point, I was thinking of getting it repaired, but then I moved to a
higher level of equipment.

If you would like these pieces, then I would be happy to give them to you. Otherwise, I
will donate them to Goodwill, which will repair and sell them.

In terms of records, I have about four or five boxes of them!

Best wishes,

Tim


 Walls, Levi <LeviWalls@my.unt.edu>                                        Sat, Jun 1, 2019,
                                                                                  12:30 AM

 to me



Dear Dr. Jackson,

     Sorry for the delay. Great, I can swing by tomorrow to pick up the records. Normally,
I wouldn’t have a car but my wife won’t be at work because she has bronchitis. So I’ll be
able to travel tomorrow. I can come by any time tomorrow, but I’ll be without a car again
on Sunday. I can also take the equipment off your hands. I should be able to put them
to some use. Thanks a bunch!

      Regards,

                Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Friday, May 31, 2019 4:17:24 PM
To: Walls, Levi
Subject: [EXT] some equipment that works that I don't use

...

[Message clipped] View entire message

                                                                                                 55

                                                                                     JACKSON000055
Case 4:21-cv-00033-ALM Document 1-2 Filed 01/14/21 Page 57 of 71 PageID #: 109




 Timothy Jackson <shermanzelechin@gmail.com>                       Sat, Jun 1,
                                                                2019, 7:31 AM

 to Levi



Dear Levi,

Would you like to come by around 11?

Best wishes,

Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                Sat, Jun 1,
                                                                2019, 7:33 AM

 to me



Dear Dr. Jackson,

      Yes, I’ll see you then!

       Regards,

                Levi

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, June 1, 2019 5:31:59 AM
To: Walls, Levi
Subject: Re: [EXT] some equipment that works that I don't use

...

[Message clipped] View entire message


 Timothy Jackson <shermanzelechin@gmail.com>                       Sat, Jun 1,
                                                                2019, 7:36 AM



                                                                                 56

                                                                      JACKSON000056
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 to Levi



Great! Make sure that you have room in your car!



 Walls, Levi <LeviWalls@my.unt.edu>                                          Sat, Jun 1,
                                                                          2019, 8:51 PM

 to me



Dear Dr. Jackson,

    I’m okay! I have a baby grand at home, which was a generous gift from a patron
when I lived in California. I’m also good on screens, printers, and storage. Very much
appreciated though.

      Again, thanks so much for the records! I already got a new bookcase for them and
all the operas are now organized. One more bookcase should do it. Oh no, not
overwhelmed at all. I can’t wait to dive into all the recordings/inserts.

     I’ll be in touch about Berlioz/research.

     Regards,

                Levi Walls




Regarding the Symposium, Levi and Ben asked me if Clark, Beaudoin and LeD responses
should be published; I agreed that they should be published in fairness to have both sides,
and they were.


Clark, Beaudoin, and Lett responses
 Inbo   x




 x


 Walls, Levi <LeviWalls@my.unt.edu>                                         Thu, Feb 13,
                                                                               10:54 AM

                                                                                              57

                                                                                 JACKSON000057
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 to me, benjamingraf@unt.edu



Dear Dr. Jackson (with Dr. Graf in copy; Dr. Slohow not copied because he asked to be recused),

      Dr. Graf and I were wondering what your thoughts were concerning the submissions from
Clark, Beaudoin, and Leh. As you may have seen, these responses are (at least) implicitly anG-
Schenkerian. Despite disagreeing with much of what they have to say, Dr. Graf and I think it is
important to publish these responses along with the others that we have received (Wiener,
Pomeroy, Wen, Cadwallader, etc.). We wouldn't want the JSS's account of the debate to appear
one-sided, and having a mixture of opinions will lend more credibility to those responses that
we do agree with. Just want to check in with you before we proceed!

      And thank you for all your Gme and eﬀort in geyng responses from prominent names in
the ﬁeld!

Regards,

           Levi Walls
recommendation for conference


 Timothy Jackson <shermanzelechin@gmail.com>                                Wed, Feb 19,
                                                                                8:57 PM

 to Levi



Dear Levi,

So..... this afternoon I did receive an email requesting my approval for your application,
to which I have responded with the highest possible numerical ranking.

I am unsure whether I have to write a more detailed letter of support, and have written
to Dr. Brand to see. Just in case I do need to craft an actual letter, might you send me
your abstract and details about the conference, which I will need for my letter.

Today I picked up a recording of Berlioz's Beatrice and Benedict: https://
www.amazon.com/BERLIOZ-BEATRICE-BENEDICT-JOHN-NELSON/dp/B00007M8T1/
ref=sr_1_3?
keywords=Beatrice+and+benedict+nelson&qid=1582167159&s=music&sr=1-3

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                                                                                  JACKSON000058
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It seems very good indeed.

The cycles in the Bertain are clearly damaged; but, I wonder if they are in the
Berlioz Les Troyens? Perhaps, in the latter, the opposite might be the case?

Best, Tim



As Levi’s advisor in the doctoral program, the Chair Benjamin Brand asked me for a letter
of support for his application for travel funding to present his work in England. I wrote
such a letter:

Walls U.K. travel funding
 Inbo   x




 x


 Walls, Levi <LeviWalls@my.unt.edu>                                      Tue, Feb 18,
                                                                             4:55 PM

 to me



Dear dr. Jackson,

     I think dr. Brand sent you an email (as my advisor) regarding the request I put in for
funding to go to the U.K. I believe he requires a response from you before the request
can go through. Thanks!

Regards,

        Levi Walls


 Timothy Jackson <shermanzelechin@gmail.com>                             Tue, Feb 18,
                                                                             7:52 PM

 to Levi



Dear Levi,


                                                                                        59

                                                                              JACKSON000059
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I looked through my webmail account under Brand, but I don't see any communication
about this travel funding for you. Plus, I do not recall writing a letter of recommendation
for your travel, nor reading your application! I did assist another student with an
application for travel funding, but not you!

If you received a note from him about this application, could you please forward it to me,
along with a copy of your application.

I hope that senility has not accelerated at light speed!

Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                       Tue, Feb 18,
                                                                              8:52 PM

 to me



Dear dr. Jackson,

     Yeah, I was surprised when he said he needed your feedback. I’m not sure why.
He mentioned it in passing today. Hopefully, it requires nothing more than for you to
push a button and submit. I’ll email him.

Regards,

         Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Tuesday, February 18, 2020 5:52:27 PM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: [EXT] Re: Walls U.K. travel funding

...

[Message clipped] View entire message


 Walls, Levi <LeviWalls@my.unt.edu>                                       Tue, Feb 18,
                                                                              9:06 PM

 to me



                                                                                          60

                                                                               JACKSON000060
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I emailed him to reach out to you. Apologies, I would have given you more heads up if I
had known any action was required on your end. I only knew about it because he
mentioned it when I ran into him today.

      - Levi Walls

From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Tuesday, February 18, 2020 6:52:43 PM
To: Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: [EXT] Re: Walls U.K. travel funding

...

[Message clipped] View entire message


 Timothy Jackson <shermanzelechin@gmail.com>                              Tue, Feb 18,
                                                                              9:20 PM

 to Levi



Dear Levi,

I would like more information. I don't recall you mentioning a travel application to the
UK; rather, I thought that you were interested in France! So, why England?

Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                       Tue, Feb 18,
                                                                              9:25 PM

 to me



Dear dr. Jackson,

       Oh, yes, it’s for the international conference of musical form on June 30 that I was
accepted into. Just to help with the funding to get to the conference. Nothing substantial
like the planned work in France.

Regards,

           Levi Walls
                                                                                           61

                                                                               JACKSON000061
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From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Tuesday, February 18, 2020 7:20:01 PM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: Re: [EXT] Re: Walls U.K. travel funding


 Timothy Jackson <shermanzelechin@gmail.com>                                 Tue, Feb 18,
                                                                                 9:34 PM

 to Levi



Dear Levi,

OK. That is totally different from the student research grant application (I believe that I
sent you the call for applications for that competition thinking you might want to go to
Paris). Well, of course I will strongly support your application for travel funding to
present at the British conference. But, as I said, I have not heard a peep from Brand
about that. Maybe he does not need my input to make a decision.....

Keep me posted regardless.

By the way, if you have a chance to make a pit stop at the British Library near Charing
Cross in London to photograph something for me, I would be infinitely grateful. But only
if you have time. Their music collection is spectacular and important, and a resource
that you should be familiar with! I have spent many happy hours puttering around there.

Best, Tim



 Walls, Levi <LeviWalls@my.unt.edu>                                         Thu, Feb 20,
                                                                                8:15 AM

 to me



Dear Dr. Jackson,

     Thanks for taking care of the funding request. Hopefully Brand doesn't require much more
from you as I don't wish to inconvenience you without warning! Of course I'm happy help you
by making a stop at the BriGsh Library. I'll be staying with a friend in London and commuGng to
Newcastle from there (which will be cheaper in the end), so the Charing Cross library won't be
too out of the way. What is it that you would like me to photograph?

                                                                                              62

                                                                                  JACKSON000062
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      Regards,

                 Levi Walls

Cordial relaIons with Levi persisted for nearly ﬁve months a1er the Symposium was
submiDed to UNT press, and we were assembling the next issue. Levi’s daughter was born.
There was no sign of any issues or concerns.

I sent Levi a project that I was working on:


 Walls, Levi <LeviWalls@my.unt.edu>                                                     May 19,
                                                                                     2020, 10:01
                                                                                             AM
 to me


Dear Dr. Jackson,

Thanks for your email, and the detailed graphs. Since musical seyng is, itself, a translaGon of
sorts, these pieces would seem to oﬀer an especially interesGng challenge (a Wellesz translaGon
of Rilke's translaGon of E.B. Browning, like a game of "telephone"). Technically, there are four
levels (or at least three and a half) to the process because Rilke didn't know English and was
assisted by his hostess in Capri. If you haven't already, there are a few arGcles that you might
ﬁnd useful, especially in regards to the relaGonship between Rilke's and Browning's texts.
"Rilke's TranslaGons of English, French, and Italian Sonnets" by Furst: hhps://www.jstor.org/
stable/pdf/4172561.pdf?refreqid=excelsior%3Ad54da7f70c99859abb26629bc5b5c137
and "TranslaGng Desire: Elizabeth Barreh-Browning and Rilke's women in love" by Catling
(although I couldn't manage to ﬁnd this arGcle, which appears in a German-language book
called Rilke und die Moderne). hhps://ueaeprints.uea.ac.uk/id/eprint/26337/ It seems like it
would be useful if it can be tracked down. I'm unsure of the state of ILL during this shutdown.

Part of the Furst arGcle menGons that, because Rilke changes the structure of the sonnets he
translates, the resultant rhyme scheme "gains a musical and symbolical element" that wasn't
necessarily there before (132). According to the author, this change is due in part to Rilke's
alternaGng use of masculine and feminine rhymes, whereas Browning's rhymes are consistently
masculine. I wonder if the translaGons set by Wellesz feature similar changes.

Ophelia is well for the most part. My wife works 6pm-6am three days a week, so I am on my
own with her those nights. It can be prehy rough (because she cries more when Rebeca is gone)
so I ojen go without sleep. But it's a labor of love. I think, all in all, I'm doing well in fatherhood.


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My biggest challenge, as I always thought it would be, is not to be too neglec|ul because of
work. It's a delicate balance.

I'm currently studying for my related ﬁeld quals, so I'm buried in English literature texts. I think
more music theorists would do well to be more familiar with some of these literary theory texts.
A few that I've commihed to reading are unrepentantly intenGonalist though, especially
Hirsch's Validity in Interpreta=on (an ironic Gtle, to be sure, because when our analyses are
absolutely beholden to the supposed intenGons of authors, we might as well throw out the
possibility of interpretaGon). One of the novels I'm currently reading is Romola. Knowing your
interest in George Eliot and Vasari's Lives of the Ar=sts, it seems like a book you would
appreciate.

This talk of English literature reminds me. Would you mind signing my degree plan? Just the
"major professor" line near the bohom of the front page. You'll have to do it electronically,
which should be straigh|orward using the "annotate" tool of whatever PDF program it opens in.
I ahached it. Let me know if it gives you trouble. Thanks!

Regards,

    Levi Walls




---------- Forwarded message ---------
From: Stephen Slottow <sslottow@gmail.com>
Date: Thu, May 14, 2020 at 6:49 PM
Subject: Re: [EXT] Re: Confidential
To: Colin Davis <colinldavis@gmail.com>
Cc: Walls, Levi <LeviWalls@my.unt.edu>, Timothy Jackson <shermanzelechin@gmail.com>


Dear Levi,

That all sounds excellent.

But when should the present issue be out?

-sps



 Walls, Levi <LeviWalls@my.unt.edu>                                              Mon, Jun 8,
                                                                                   8:49 AM

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 to me



Dear Dr. Jackson,

   Thanks for the email. I'm afraid it's a negaGve on the sleep issue. She's sGll prehy fussy at
night so I only get an hour here and there.


    In regards to your journal quesGons, I've been emailing Karen at UNT press about the
prinGng, but she hasn't been responding (which is frustraGng). Even with the virus, I feel like it's
taking too long. I emailed Ron yesterday, so hopefully he will respond. I've been chipping away
at the Novack and I've gohen through the ﬁrst couple ﬁles. While I'm at it, I'm also formayng it
in Indesign for the journal style. I had a quesGon: should I change the BriGsh-style punctuaGon
and spellings (i.e. periods outside of quotaGon marks and words like "focussed")? I assume the
answer is yes, but wanted to double-check. I'll send some of the proofs this week.


    Thanks for your kind oﬀer to meet. Always much appreciated. Perhaps someGme later in the
summer; now's just not a good Gme. In a month or so, I'll have ﬁnished teaching my summer
course (aural skills III), Ophelia will hopefully be sleeping beher, and I'll have gohen my massive
reading list under control, all of which will signiﬁcantly improve my sanity.


    I'll be presenGng my double cycle work at SMT this year, so that will be good.


    How have you been doing this summer? How is your family?


Regards,


     Levi Walls


PS. Just as I was about to hit send, Ron responded to my email. He said that the prinGng has
been underway but running behind because of the virus. We should have copies by the end of
this month, he said.

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Sunday, June 7, 2020 1:29 PM


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To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: [EXT] Making contact - Novack text



 Timothy Jackson <shermanzelechin@gmail.com>                              Tue, Jun 9,
                                                                            7:46 PM

 to Levi



Dear Levi,

Bravo on the SMT acceptance! Great news indeed! Are they going to hold the meeting
physically or on-line? I will not travel this year, considering it just too risky - and
expensive, given the cuts to faculty travel funding. I have read some reports indicating
that there are patients recovering from the virus who have exhibited lasting damage to
their hearts. No one knows the long-term repercussions. It is depressing that the
infection rate in the Denton area shows no decline.

https://gis-covid19-dentoncounty.hub.arcgis.com/pages/covid-19cases

On the contrary, it is increasing daily!

Thank-you for the update about the Journal and the Novack. Good news about the text.
Use our house style (American). Once I have that text from you, I will start working with
Colin on the examples.

I am teaching "Analysis and Performance" for the first time as a summer course. With
15 students, entirely on-line, it is challenging. However, the good news is that the
students are almost all DMAs and highly motivated, so that I think we will make real
progress. Right now, we are looking at a scene from Jommelli's opera Armida
abbandonatta, which I believe to be an absolutely amazing opera.

I send you my annotated score with some ideas about how it works.

There is one very significant difference between the two recorded performances, both
available on Youtube. https://www.youtube.com/watch?v=F3_skCJBSJg

https://youtu.be/FrPRKb-xhzY?t=2337

Both are very good, but Rousset makes a significant cut in the A' section. I am trying to
figure out if he made it based on Jommelli, or on his own. It is possible that Jommelli
compressed the A' because he revised the opera for different performances.



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This opera is one of the truly great Classical operas! I cannot recommend it highly
enough!

Your baby will sleep through the night - eventually. Hang in there!

Best, Tim


On July 23, 2020, just six days before the public aDack and his subsequent denunciaIon of
me, Levi wrote:

 Walls, Levi                                                                   Thu, Jul 23,
                                                                                  2:11 PM

 to me



Dear Dr. Jackson,

     I ahached the requested ﬁles. Ah, yes, I remember from my ﬁrst semester at UNT that you
were working on the late quartets (op. 131, to be speciﬁc). That was back when I barely knew
what Schenkerian analysis was. Hard to believe it was only 4 years ago! Let's hope I come just as
far in another 4 years.

     I'd be interested in seeing your Beethoven work, as with anything. Studying Beethoven will
always be important, even if I don't ever plan on presenGng/publishing work on him. I always
feel a lihle apprehension at doing Beethoven research. He's been done so much over the years
(for good reason, to be sure, as he is without a doubt one of the greatest composers that ever
lived). But sGll, I inwardly groan a lihle when I see paper ajer paper on Beethoven at
conferences. I think you know what I mean, since you were siyng right next to me when I heard
you say something to a similar eﬀect in response to a Beethoven paper at TSMT 2018. But, I'm
glad to see what you have to say since, as I said, it's very important to conGnue studying
Beethoven. Something new and valuable might come out of it, and it would be an awful shame
if Beethoven research stopped en=rely.

     For my own part, I have a few projects going for the next conference season. I once wrote a
paper about ﬁnding a musical analogue to TransatlanGc Modernism (the Imagist poets, plus the
likes of T.S. Eliot and Gertrude Stein). I had noGced that documentaries on these ﬁgures used a
mixture of classical–romanGc era music and Coplandesque Americana, but I argued that it was
the music of the second Viennese school that really mirrors the TransatlanGc Modernist
aestheGc/philosophical views. And it should be the job of a documentary to choose music that
represents their subject's aestheGc/philosophical views, when that documentary is on an arGst.
So I'm reworking that paper for a few American literature conferences. Then, I've recently
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started thinking about wriGng a proposal for upcoming theory/musicology conferences that
compares formalism in music vs. formalism in literary theory. Confusingly, the two ideologies
are complete opposites when it comes to mahers of interpretaGon. One of our main formalist
representaGves is Peter Kivy, whose perspecGve is almost semioGcally barren. On the other
hand, the main representaGves of formalism in literary theory are the New CriGcs and the
Russian Formalists, who are extremely ﬂexible in regards to semioGcs. In part, the New CriGcs
pushed Barthes' idea of the "death of the author," which I ﬁnd indispensable to interpretaGon
(and Kivy found distasteful). I think that the underlying reasons for this disparity between
formalism in music and in literary theory will say something important about the ideological
diﬀerences between the two ﬁelds. But that project is in it's infancy, so we'll see what happens
with it.

     Ophelia is okay. She's geyng so much smarter and her hand-eye coordinaGon is improving
a lot. If I put her on my lap at the piano, she hits the keys with interest, which is very good for a
four-month-old! A surprising lack of change in the sleep department, though. But, at least I
don't have to take care of her alone at night anymore (at least, for the foreseeable future)
because my wife's work schedule changed to dayGme shijs.

Regards,

      Levi Walls

From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Thursday, July 23, 2020 9:53 AM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: [EXT] Re: Updates on arGcles, websites, and prinGng.

...

[Message clipped] View entire message
3 Attachments




 Timothy Jackson <shermanzelechin@gmail.com>                                       Thu, Jul 23,
                                                                                      6:49 PM

 to Levi



Dear Levi,



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Thank-you for the update. I would like to discuss these issues with you and learn more
about them! I also would like to recommend that you take a closer look at the last
movement of Op. 127 for starters because I believe that the way of thinking here is
relevant to Berlioz. Here, Beethoven departs quite radically from "Classical" principles of
design-tonal organization, and I can see now how this kind of freedom would have
impressed Berlioz, and inspired some of his procedures. I presume that you plan to go
forward with Les Troyens.....If so, doing so would be helpful.

By the way, I did not realize this, but Salieri wrote quite a bit for the French opera, being
"anointed" for this task by Gluck. The results are impressive. Les Danaides, for
example, while gruesome, is quite an opera! There are boring parts of Tarare, but also
superb sections in a highly imaginative frame.

I will look over Wason's comments and get back to you and Dr. S.

Best, Tim


Shortly after the Twitter attack, Levi Walls posted on FB, July 27, 2020 this denunciation:

I have written the following statement in an attempt to share my experiences and shed light on
the situation regarding the Journal of Schenkerian Studies. Furthermore, the purpose of this
statement is to emphasize how deeply sorry I am for my involvement in the journal. Although I
had no control over the content of the journal, or over the decisions regarding review processes, I
am guilty of complicity because I remained in the position after I realized that my
whistleblowing efforts were for naught. I hope the following account provides helpful context:

In summer 2019 (when I had just finished my first year as a PhD student in music theory at
UNT) I was asked if I would like to take on a research assistantship, as assistant editor of the
JSS. It would allow me to gain skills in typesetting, copyediting, and general understanding of
the process that goes into an academic journal. I saw the assistantship as a good opportunity, as I
am interested in research. And, naturally, as the position was under the supervision of no less
than five UNT faculty members who I believed had my best academic interest at heart, it didn’t
seem like something I would regret. Throughout the process, myself and the editor at the time
were to report directly to Timothy Jackson and Stephen Slottow, with major decisions about the
journal’s contents to be decided by them. As I will explain, what appeared to be a positive
opportunity for a young graduate student quickly turned into an extremely shameful position that
I feared I could not leave without significant damage to my career.
For the first few months, the job seemed fine, as I got to work with three articles on various
topics, typesetting and offering clarity-related edits. However, after Philip Ewell’s SMT
presentation, Timothy Jackson decided that it was the responsibility of the journal to “protect
Schenkerian analysis.” Although—after serious thought—I essentially agreed with Ewell’s talk,
it was not up to me what did or did not go into the journal. After seeing some of the responses, I
started to become incredibly worried. I gave comments to one author, including that they seemed

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to devalue other fields of study, that they cherrypicked information to make Schenker appear in a
better light, and that they confused cultural appropriation with egalitarianism. Shortly after, I was
told by Timothy Jackson (my superior in at least three senses: a tenured faculty member who ran
the journal and also served as my academic advisor) that it was not my job to censor people.
After this, things continued to go in a direction that I found to be disgusting.
I set up a secret meeting with my department chair, specifically acknowledging that I was
coming to him as a whistleblower because I was worried about the potential dangers that the
journal posed for the College of Music and for rational discourse in music theory. My warning
was not heeded and—although I feel that he had the best of intentions—he expressed reluctance
to step in and control the actions of the journal. Furthermore, after my warning that Dr. Jackson
was woefully ignorant about politically correct discourse and race relations, he rebutted that “Dr.
Jackson did very well in the recent diversity and inclusion workshops.”
After this, I feared that I would remain powerless and voiceless in regard to the running of the
journal (despite my misleading title of “assistant editor,” and the fact that I was meant to become
“editor” for volume 13). In hindsight, I should have quit the journal in protest. However, I feared
retaliation from Timothy Jackson: he is an incredibly well-connected and influential figure in
Schenkerian circles, and I’ve lost count of the number of people who have told me over the years
that I would regret it if I ever got on his bad side. Despite this—as well as my worry about losing
the financial means to support my family—I am ashamed to say that I stayed in the position. I
continued to do the administrative tasks assigned to me, to typeset the articles, provide basic
copyediting, and to correspond with authors about their edits via email. Eventually, I read
Timothy Jackson’s response, which left me dumbfounded by it’s disgusting and harmful rhetoric.
Even after that, I feared to do anything other than grin and bear a job that I knew was harmful to
UNT, the field of music theory, people of color, and basic human decency. For that cowardice, I
am truly sorry.
Sincerely,
Levi Walls




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                                                                                       JACKSON000070
